SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

oOo Oo NHN DO Te FP WY PN

SAN FRANCISCO, CA 94109

bee

No NO NO NV NV WH KN NNO NO ww mmm mm lt
co nN BN ON SF WH NOUS lUWDOUlmUlUlCUCUCCOClUeWOWOUCUMmUG NSDUH SOW Ll lc WD

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 1 of 52

JOHN HOUSTON SCOTT (SBN 72578)
LIZABETH N. de VRIES (SBN 227215)
THE Scott LAW FIRM

1388 Sutter Street, Suite 715

San Francisco, California 94109
Telephone: (415) 561-9600

Facsimile: (415) 561-9609
John@scottlawfirm.net
liza@scottlawfirm.net

DAVID ANTON (SBN 94852)
1717 Redwood Lane

Davis, CA 95616

Telephone: (530) 759-8421
Facsimile: (530) 759-8426
antonlaw@sbcglobal.net

Attorneys for Plaintiffs and Qui Tam Relators

fe

Aap
é '
f ,

SEALED

BY COURT ORDER

J Cs

UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

THE UNITED STATES OF AMERICA ex
rel, ARTHUR R. JAHR IH, ELBERT G.
BOWERS, SUSAN V. ANDREWS, and
ARCHIE R. JACKSON,

Plaintiff and Qui Tam Relators
V.

TETRA TECH EC, INC.; TETRA TECH,

INC.; NEW WORLD ENVIRONMENTAL,
INC. d/b/a NEW WORLD TECHNOLOGY;

ALEUT WORLD SOLUTIONS,

Defendants.

ARTHUR R. JAHR III, ELBERT G.
BOWERS, SUSAN V. ANDREWS, and
ARCHIE R. JACKSON,

Plaintiffs
V.

TETRA TECH EC, INC.; TETRA TECH,

INC.; NEW WORLD ENVIRONMENTAL,
INC. d/b/a NEW WORLD TECHNOLOGY;

ALEUT WORLD SOLUTIONS,

Defendants.

Cy..d3 3835

COMPLAINT FOR:

1) FALSE CLAIMS ACT VIOLATION
PURSUANT TO 31 U.S.C. §3729 et seq.;

2) RETALIATION VIOLATION
PURSUANT TO 31 U.S.C. §3730(h)

[FILED UNDER SEAL - 31 USC §3730]

Jury Trial Demanded

-|-

COMPLAINT

ORIGINAL
SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 2 of 52

PARTIES

1. Plaintiff SUSAN V. ANDREWS, (herein Andrews), Plaintiff ARTHUR R. JAHR III,
(herein Jahr), Plaintiff ELBERT G. BOWERS, (herein Bowers) and ARCHIE R. JACKSON,
(herein Jackson) are natural persons and competent to sue. The information contained herein
pertaining to the fraud engaged in by defendants at the expense of the United States of America,
and the United States Navy has not been publicly disclosed as defined by 31 USC
§3730(e)(4)(A). Plaintiffs are the original source for all information. Plaintiffs have direct
individual knowledge of the facts and fraud herein alleged. Plaintiffs have provided the
information to the government before filing suit, have filed complaints with government agencies,
having submitted documents and have been interviewed by government agents, and agents for
Plaintiffs have met and conferred with the United States Attorney General’s office and made
disclosures prior to filing of suit. Plaintiffs have previously filed personal litigation against
Defendants in the Superior Court of California in which some of the facts pertaining to the fraud
by Defendants were alleged. Federal jurisdiction is proper for this action is based on a federal
statute 31 USC §3729 and §3730.

2. Defendants Tetra Tech, Inc. and Tetra Tech EC, Inc. are corporations that have
contracted with the United States Navy and United States of America government to perform
clean-up and remediation services of hazardous wastes including radioactive materials at the
closed Hunters Point Naval Shipyard in San Francisco. On information and belief it is alleged
that the principal business office of Tetra Tech EC, Inc. is located in California. Defendant Tetra
Tech EC, Inc., on information and belief is alleged to be a corporate subsidiary of Defendant
Tetra Tech, Inc., that was involved in the performance of services in the clean up and remediation
of Hunters Point Shipyard.

3. Defendant NEW WORLD ENVIRONMENTAL INC., doing business under its
corporate name and doing business under the nome NEW WORLD TECHNOLOGY, with its
principal place of business in California, contracted with Defendants Tetra Tech, Inc. and Tetra
Tech EC, Inc., to assist in the remediation of the Hunters Point Shipyard, including providing

specifically trained and experienced radiological safety and remediation oversight specialists

-2-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Co eo NN DBO AO FF WD) NO —

N NO NO NO NNO NO NO RO Rm RE ee ele
oN ONO NW RP WD NYO SY ODOOlClCOlUlCeWOUNSN UNCUT RelCUMNG NDC

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 3 of 52

regulated by the United States Nuclear Regulatory Commission. Defendants Tetra Tech, Inc.,
and Tetra Tech EC, Inc. exerted control over employment and labor relations of employees of
NEW WORLD ENVIRONMENTAL, INC, The control over employment and labor relations by
Tetra Tech, Inc. and Tetra Tech EC, Inc. over radiological workers provided to Tetra Tech, Inc.
and Tetra Tech EC, Inc. by NEW WORLD ENVIRONMENTAL, INC. caused these companies
to be joint employers over the employees NEW WORLD ENVIRONMENTAL, INC. provided.

4. Defendant ALEUT WORLD SOLUTIONS contracted with Defendants Tetra Tech,
Inc. and Tetra Tech EC, Inc., to assist in the remediation of the Hunters Point Shipyard, including
providing specifically trained and experienced radiological safety and remediation oversight
specialists regulated by the United States Nuclear Regulatory Commission. Defendants Tetra
Tech, Inc., and Tetra Tech EC, Inc. exerted control over employment and labor relations of
employees of ALEUT WORLD SOLUTIONS. The control over employment and labor relations
by Tetra Tech, Inc. and Tetra Tech EC, Inc. over radiological workers provided to Tetra Tech,
Inc. and Tetra Tech EC, Inc. by ALEUT WORLD SOLUTIONS caused these companies to be
joint employers over the employees ALEUT WORLD SOLUTIONS provided.

FALSE CLAIMS ACT FACTS AND CLAIMS UNDER
§3729 (a)(1)(A), (B) and (C)

5. Between 1939 and 1966, the United States of America acquired some of the
property commonly referred to as the Hunters Point Shipyard, and also known as the Hunters
Point Division, San Francisco Bay Naval Shipyard. Portions of the property known as Hunters
Point were not owned by the United States, but the United States obtained easement rights
involving property owned by Southern Pacific Railroad. The Department of Defense used these
properties for operating a shipyard, and Southern Pacific Railroad continued to own and operate
rail lines through the Hunters Point site. The Department of Defense, in addition to using Hunters
Point for a Naval Shipyard, also used these properties to conduct radiological activities on the site
including sandblasting radioactive waste off Navy ships subjected to nuclear testing at the Bikini

Atoll, extensive application of fluorescent radium on dials, knobs, and buttons, as well as

-3-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

o eo IN DH UH Se WY NY

Ro NO NO NO NO HO RO NO NO mm om me me mt let
oN NHN AW SP BY NN S|! ll DOllUlUlUlUCCOl lUOCOUNLUCNCUCUMOOCUROUWhD ND CD

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 4 of 52

operating the radiological defense laboratory on multiple site locations from 1955 to 1979
inclusive of Buildings 364, 815, and 816. Additionally, radioactive waste materials generated by
the University of California at Berkeley and the Lawrence Livermore Laboratories were shipped
to Hunters Point for handling, transport and disposal. The conduct of these activities involving
radioactive materials contaminated the ground, buildings, sewer lines, landfills, and surrounding
areas of Hunters Point with radioactive contamination. The conduct of the Department of
Defense resulted in hazardous wastes, including radiological wastes, being disposed of on
properties owned by the United States of America at Hunters Point and on properties that are and
have been owned during all relevant times by State of California entities including the University
of California San Francisco, entities of the City and County of San Francisco including the San
Francisco Housing Authority and the Redevelopment Agency of the City and County of San
Francisco, private companies including Crisp Building, Inc. and Southern Pacific Railroad, and
private parties, including Theodore and Bernice Lowpensky; all such properties are within the
historic Hunters Point Shipyard.

6. The United States government began in 1976 to quitclaim property that was
contaminated with hazardous wastes, including radiological wastes, to private parties, including
Theodore and Bernice Lowpenshy, agencies of the City of San Francisco, including the San
Francisco Housing Authority and the Redevelopment Agency of the City and County of San
Francisco, entities of the State of California, including the University of California San Francisco,
and private companies including Crisp Building, Inc. These non-United States entities continued
during all relevant times to own properties that were Hunters Point Shipyard properties that were
contaminated by hazardous wastes, including radiological wastes.

7. The United States Congress enacted the Defense Base Closure and Realignment
Act of 1990 (DBCRA). The Hunters Point Shipyard was selected for closure under the Defense
Base Closure and Realignment Act in 1991. The federally owned portion of the Hunters Point
Shipyard property was determined to be transferred to the City and County of San Francisco.
With the selection of Hunters Point Shipyard to the DBCRA, the federal government entered into

agreements with the State of California and the City and County of San Francisco that related to

-4-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

SN An nn F&F WwW LY

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 5 of 52

agreements regarding the joint jurisdiction and authority between Federal, State, and San
Francisco agencies over the property pending ultimate transfer of the property to the City and
County of San Francisco, and final relinquishment by the federal government.

8. In 1989, the United States Environmental Protection Agency placed the Hunters
Point Shipyard and related properties on the National Priorities List as a Superfund site pursuant
to the Comprehensive Environmental Response, Compensation, and Liability Act (CERCLA), as
amended by the Superfund Amendments and Reauthorization Act (SARA). Congress directed
through CERCLA, SARA and DBCRA that State and Local governments were to share with
federal agencies jurisdiction and authority involving remediation of Superfund sites designated
for transfer to State and Local governments.

9. The Superfund remediation of Hunters Point and related properties have had joint
jurisdiction and oversight by Federal, State of California, and San Francisco agencies including
the California Department of Public Health, the California Regional Water Quality Control
Board, the California Department of Toxic Substances Control, the San Francisco Redevelopment
Agency, the California Environmental Protection Agency, and the San Francisco Department of
Public Health, working with the Department of the Navy, the Federal EPA and Federal Nuclear
Regulatory Commission.

10. Defendants Tetra Tech, Inc. and Tetra Tech EC, Inc. (formerly Tetra Tech FW,
Inc. and Foster Wheeler Environmental Corporation) contracted with the United States
government to provide remediation services for the removal of radiological materials pursuant to
the Base Realignment and Closure Program and Superfund designation for the Hunters Point
Shipyard and related properties, including properties then owned by the City and County of San
Francisco, the San Francisco Redevelopment Agency, the University of California, and land
owned by private individuals and entities. The contracts and related authorization documentation
between the United States, through its agencies, including but not limited to the Department of
the Navy, with Defendants Tetra Tech EC, Inc. (including its former corporate names of Tetra

Tech FW, Inc. and Foster Wheeler Environmental Corporation) and Tetra Tech, Inc. included

-5-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 6 of 52

directives that jurisdiction and responsibility over the Hunters Point Shipyard remediation involve
federal agencies as well as State and Local governmental agencies, laws and regulations.

11. | The United States Navy issued contract specifications for contractors to bid on the
nuclear radiation remediation work at the Hunters Point Naval Shipyard. The United States Navy
contract specifications included the specification that the nuclear radiation remediation safety
specialists have training and experience sufficient to satisfy ANSI Standard 3.1 in order to
perform safety, remediation and oversight services as either a senior or junior Radiological
Control Technician (RCT).

12. Defendants Tetra Tech EC, Inc. and Tetra Tech, Inc. initially contracted with
Defendant New World Environmental, Inc. to obtain individuals who satisfied ANSI Standard 3.1
in prior training and experience in the remediation of radiological materials as RCTs. Defendants
Tetra Tech EC, Inc. and Tetra Tech, Inc. on or about January 1, 2011 subsequently changed
companies providing ANSI 3.1 RCT radiological remediation safety specialists by ceasing to use
New World Environmental, Inc. and using in part Defendant ALEUT WORLD SOLUTIONS.
Defendant Tetra Tech EC, Inc. undertook and agreed with the United State Navy requirements to
have only ANSI 3.1 qualified RCT radiological remediation safety specialists perform services
under the contract with the United States Navy for the clean-up of Hunters Point Naval Shipyard
contracts, including contract N62473. By billing the United States Navy for RCT radiological
remediation safety specialists, Defendant Tetra Tech EC, Inc. initially and expressly represented
that all RCT radiological remediation safety specialists would satisfy ANSI Standard 3.1 by prior
training and experience, and thereafter implied certification when submitting requests for periodic
payments under the contract with the United States Navy that Defendant Tetra Tech EC, Inc.
continued to comply with the rule and requirement that all individuals for which bills and requests
for progress payments by Defendant Tetra Tech EC, Inc. were submitted that the RCT
radiological remediation safety specialists satisfied ANSI Standard 3.1.

13. On or about early 2006 Plaintiff Bert Bowers, at that time a management official
of New World Environmental, Inc. as the Radiological Safety Officer Representative for the

Hunters Point Naval Shipyard project reported to New World Environmental, Inc. upper

-6-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

o Oo ST WH A FF WD NO

NO NO NO NO NO NO NO RO RO ww me me me met et
ao NN DN A FR WY NY S|§ Oo Oo Oo HS DRO A BR WY NY KK OC

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 7 of 52

management, including but not limited to Human Resources Director Kari Guidry that the resumé
of Jane Taylor, who had applied for a RCT nuclear radiation remediation position to perform
radiological safety and remediation services at Hunters Point and had not yet been hired, appeared
to present a fraudulent resumé based on Bowers’ experience and knowledge of the industry.
Plaintiff Bowers advised management of New World Environmental, Inc. that his review of the
resumé of Jane Taylor and his conclusion that the resumé’s references to nuclear radiation
remediation work experience were fraudulent raised his suspicion and belief that Jane Taylor did
not have the training and experience necessary to satisfy ANSI Standard 3.1 to work on the
Hunters Point Shipyard project to perform nuclear radiation safety, remediation and oversight as
required by the agreement with the United States Navy. Plaintiff Bowers was directed by
management of New World Environmental, Inc. that Bowers had no role or involvement in the
human resources function of determining who would be hired by New World Environmental Inc.
to perform nuclear radiation safety, remediation and oversight services for Tetra Tech and the
United States Navy. After Plaintiff Bowers reported his information and conclusion to the
Human Resources Director that the resumé of Jane Taylor was fraudulent and that she was not
qualified to perform nuclear radiation safety, remediation and oversight work under the contract
with the United States Navy Plaintiff Bowers reported this information and the response of the
Human Resources Director to his superior, the company’s Vice President of Operations. On or
about March 1, 2006, Jane Taylor was hired by New World Environmental, Inc. to perform
nuclear radiation RCT safety, remediation and oversight work for Tetra Tech on the United States
Navy remediation project at Hunters Point Naval Shipyard despite being advised of the lack of
qualifications for Jane Taylor to be employed in the RCT position based on the United States
Navy requirements that such RCT employees satisfy ANSI Standard 3.1.

14. In 2005, Plaintiff Art Jahr, an ANSI Standard 3.1 qualified nuclear radiation
safety, remediation and oversight specialist was hired by New World Environmental, Inc. in an
RCT position. A few months after Plaintiff Jahr was hired he was approached by Samantha
Taylor, the daughter of Jane Taylor, who advised Plaintiff Jahr that Jane Taylor was seeking

employment as an RCT with New World Environmental, Inc. at Hunters Point, but that Jane

-7-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo S&F “NJ DWN WO BP WD NO —

NRO NO NHN NNO HN KN RN RN RO wm wm me me me me me et
ao nN DN UO SOY OCU lUCDOlCUCCOlUlUMWWDULUMUGNLlUGN UCC Dl CD

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 8 of 52

Taylor did not have the necessary experience to work as a nuclear radiation RCT safety,
remediation, and oversight specialist at Hunters Point. Samantha Taylor requested Plaintiff Jahr
lie to New World Environmental, Inc. by falsely representing to New World Environmental
management that the resumé of Jane Taylor was truthful and to lie by representing that Plaintiff
Jahr had worked with Jane Taylor in prior nuclear radiation remediation jobs. Plaintiff Jahr
refused to lie and support the fraudulent resumé of Jane Taylor and her efforts to be employed on
the Hunters Point Naval Shipyard nuclear radiation remediation project. In 2006, Plaintiff Jahr
reported to human resources management for New World Environmental, Inc. that he had been
approached by the daughter of Jane Taylor and asked to lie and support the application and
fraudulent resumé of Jane Taylor after Plaintiff Jahr learned that Jane Taylor had been hired by
New World Environmental, Inc. Plaintiff Jahr also reported to New World Environmental, Inc.
management that from his observations of Jane Taylor at the worksite it appeared that Jane Taylor
was involved with and was approaching males, including Plaintiff Jahr, in a sexually suggestive
manner possibly to secure her employment at the Hunters Point Naval Shipyard. On information
and belief it is alleged that Jane Taylor engaged in sexual relations with one or more male
managers or principles of New World Environmental, Inc. to obtain and to retain her
employment. Plaintiffs have personal observations and have been informed by co-workers that a
New World Environmental, Inc. principal, namely Chief Executive Officer Michael Wilson, and
a supervisor of New World Environmental, Inc., namely Gary Wilson, as well as senior RCT
specialists including Patrick Vigil, engaged in sexual relations with Jane Taylor and that these
sexual relations were related to and motivated the fraudulent hire, retention and use of Jane
Taylor as an RCT at Hunters Point despite her inability to satisfy ANSI Standard 3.1 to work in
that position. One source of the information disclosed was Gary Wilson who had personally
made the disclosure of his and his brother’s sexual involvement with Jane Taylor. Another
source of that information was Jane Taylor herself in discussions with Plaintiff Andrews.
Additionally, Plaintiff Andrews' personal observations of the conduct of Jane Taylor during the
time Jane Taylor and the plaintiff shared an apartment, as well as personal observations and

information provided to the plaintiffs by co-workers, were also sources. New World

-8-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

o S&F SS DH A S&F WD NO —

NY NO NY NY WN NY WN N NO F| HF YF FF YF FO OO SFllUlUl ESEel CE
Co NI HD A F& WH NO |§ DOD OBO Fe IT DB AW SF WD NPY | &D

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 9 of 52

Environmental, Inc. hired and continued the employment of Jane Taylor despite information that
she was unqualified to work in nuclear radiation safety and remediation in an RCT position at
Hunters Point Naval Shipyard under the terms and conditions of the contract with the United
States Navy.

15. | Onor about March 1, 2006 New World Environmental, Inc. hired Jane Taylor as
an RCT radiological safety, remediation and oversight specialist in spite of the knowledge that
she was not qualified under the terms and agreement with the United States Navy that required
specific experience and credentials for that position, including meeting the ANSI Standard 3.1
criteria. On a two week period basis, New World Environmental, Inc. submitted billings to Tetra
Tech EC, Inc. for payroll payment that included the payroll for Jane Taylor, having expressly
committed to supply staff meeting the United States Navy's requirements, and submitted the
claim for payment with specific knowledge that Jane Taylor was not qualified to work in an RCT
position. New World Environmental, Inc. management knew that the payment for the wage and
benefit invoices would be paid based on the master contract with the United States of America,
through the United States Navy contract. From March of 2006, on a two week basis thereafter,
New World Environmental, Inc. submitted the payroll billing that fraudulently implied
certification and certified that Jane Taylor satisfied ANSI Standard 3.1 criteria and was qualified
to be employed in the RCT position and qualified to be paid as an RCT for her services.

16. On or about May 1, 2006, New World Environmental, Inc. promoted Jane Taylor
from a Junior to a Senior RCT nuclear radiation safety, remediation and oversight worker despite
her lack of training, lack of experience, and inability to satisfy ANSI Standard 3.1 criteria. On
information and belief it is alleged that Jane Taylor was promoted to the Senior RCT position due
to her sexual involvement with individuals in management of New World Environmental, Inc.
On or about May 19, 2006, Richard Stoney, an experienced Senior RCT employee of New World
Environmental, Inc. tendered his resignation to management of New World Environmental, Inc.
and disclosed that his resignation was motivated by the promotion of Jane Taylor to a Senior RCT
position when it was known throughout the worksite, and he knew, that Jane Taylor’s credentials

were fraudulent and that she was not qualified to work in the Senior RCT position. On

-9-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO Oo NI DB ON & WD NO —

NO NY NYO NY N NN YN NO mm eee ee
ot KO A BR WY NY KH ODO CO Fe ID HD em Se WY NY | S&S

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 10 of 52

information and belief it is alleged that soon after Richard Stoney resigned and expressed to
Human Resources management of New World Environmental, Inc. that he was resigning due to
the fact that Jane Taylor was not qualified to be in an RCT position, and that her resumé was a
fraud, Human Resources Manager Kari Guidry requested that Jane Taylor confirm her
qualifications and submit an updated resumé. On information and belief it is alleged that shortly
after that request Jane Taylor submitted to New World Environmental, Inc. a resumé that no
longer contained any reference to the nine-plus years of radiological decontamination work as a
Senior HP she had earlier claimed on her resumé to have worked from February 1983 through
July 1992 with Taylor Made Construction, and contained no reference to any radiological
experience prior to her fraudulent hire by New World Environmental, Inc. a few months before.
Rather, the revised resumé referenced work in barbeque and sandwich eating establishments, and
working as a sales representative. Plaintiffs assert this information on the basis that Jane Taylor
told one of the plaintiffs this information and that plaintiff was shown the false resumés that Jane
Taylor and her daughter Samantha created. Despite this further confirmation to New World
Environmental, Inc. that Jane Taylor’s hire was based on fraud, and that she had no previous
experience and training in nuclear radiation remediation, New World Environmental, Inc. kept
Jane Taylor employed as a RCT for Tetra Tech EC, Inc. with Defendant Tetra Tech EC, Inc.’s
knowledge and agreement to continue her employment dispute the fraud and lack of any prior
training and experience.

17. From May 1, 2006 for most time periods onward, New World Environmental, Inc.
billed Defendant Tetra Tech EC, Inc. for the time submitted by Jane Taylor at the Senior HP RCT
nuclear radiation remediation worker rate with the knowledge that Jane Taylor’s resumé was a
fraud, and with the knowledge that Jane Taylor was not qualified to work in an RCT nuclear
radiation remediation position at Hunters Point under the contract with the United States Navy,
and was not qualified to be billed at the Senior HP level or at any RCT level.

18. | Defendant New World Environmental, Inc. falsely certified and implied
certification to Tetra Tech EC, Inc., Tetra Tech, Inc. and to the United States Navy that all

nuclear radiation remediation workers, including Jane Taylor, satisfied ANSI Standard 3.1 criteria

-10-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

o0o Oo NSN NHN UW Ff WD YP

NO wNoO NO NO NO NO NO DRO RO mm let
eo YN DH WO FF WH HO HY DT OBO BH A DH NH Ph WW NY KH CO

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 11 of 52

and met training and experience requirements to be hired and to perform in the RCT job category.
Defendant New World Environmental, Inc. billed Tetra Tech EC, Inc. which billed the United
States Navy for the payroll, per diem and benefit costs incurred for RCT nuclear radiation
remediation specialists, including RCT nuclear radiation remediation workers such as Jane Taylor
who were knowingly not qualified to be hired and not qualified to perform the nuclear radiation
remediation services for the RCT job category based on the terms specified by the United States
Navy. Defendant New World Environmental, Inc. billed Tetra Tech EC, Inc. for the payroll
invoices at Tetra Tech EC, Inc.’s San Diego, California offices on a two week basis. Tetra Tech
EC, Inc. requested from the United States Navy through the NAVFAC SW Division offices in
San Diego, California to be paid and reimbursed for the New World Environmental, Inc. invoices
on a monthly basis, with the express and implied certification that the billing expressly complied
with the contract and the related rules and regulations of the United States Navy under that
contract. The fraudulent scheme to employ knowingly unqualified RCT specialists by New
World Environmental, Inc. with the express condition to comply with the rule and regulation of
the United States Navy that such workers satisfy ANSI Standard 3.1 criteria, and not disclose the
lack of qualifications, had a material effect in causing the contract administration office of the
United States Navy NAVFAC SW Division to authorize payment on a monthly basis to Tetra
Tech EC, Inc. for the invoices billed by New World Environmental, Inc. The conduct of
Defendant New World Environmental, Inc. violated 31 USC §3729(a)(1)(A), (B) and (C). The
conduct of Defendant Tetra Tech EC, Inc. with knowledge of the fraud violated 31 USC
§3729(a)(1)(A) and (C).

19. | Onor about September 22, 2008 Jane Taylor gave notice that she was leaving
employment on October 10, 2008 with New World Environmental, Inc., to seek employment in
Tennessee at the Oak Ridge Nuclear Facility. On or about late March of 2009, Jane Taylor
returned and sought re-employment with New World Environmental, Inc. On information and
belief it is alleged that the Oak Ridge Nuclear Facility would not employ Jane Taylor due to
insufficient prior experience, and unsatisfactory classroom training results. Although Jane Taylor

had worked at Hunters Point for New World Environmental, Inc. and Tetra Tech EC, Inc. from

-11-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

So 8& “Ss DN SP WY LO —

bBo bo NHN FO NO KO KH KD DRDO mm mm me le
So “sa NAN NH BP WD NO FY DBD BO CO ss HB DW FSF W BPO HS OD

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 12 of 52

March 2006 through October 2008 under fraudulent representations, Jane Taylor’s experience
and training did not satisfy ANSI Standard 3.1 criteria in March of 2009, and Jane Taylor was not
qualified to be hired for an RCT position under the terms and conditions the United States Navy
imposed for the qualifications and experience for individuals to work in RCT positions to perform
nuclear radiation safety, remediation and oversight services at Hunters Point under the contract
with Tetra Tech, EC, Inc.

20. In March of 2009, on information and belief it is alleged that Jane Taylor was in a
sexual relationship with a high level Tetra Tech EC, Inc. manager, Construction Superintendent
Dennis McWade. On information and belief it is also alleged that Tetra Tech EC, Inc.
Construction Superintendent Dennis McWade knew that Jane Taylor had obtained employment
with New World Environmental, Inc. by resumé fraud, knew that Jane Taylor did not have the
training, knowledge and experience to satisfy ANSI Standard 3.1 criteria, and knew that Jane
Taylor was not qualified to work as an RCT nuclear radiation remediation specialist at Hunters
Point Naval Shipyard under the terms required by the United States Navy. On or about late
March or early April of 2009, Tetra Tech EC, Inc. Construction Superintendent Dennis McWade
directed management of New World Environmental, Inc. to hire Jane Taylor to be assigned to
work for Tetra Tech EC, Inc. under its contract with the United States Navy, and directed that
Jane Taylor was to be employed in the Senior HP RCT nuclear radiation remediation specialist
position. Tetra Tech EC, Inc. Construction Superintendent Dennis Mc Wade knew that Jane
Taylor was not qualified under the terms required by the United States Navy to work in the
nuclear radiation remediation position and the Senior HP RCT position at the Hunters Point
Naval Shipyard. Upon being directed by Construction Superintendent Dennis Mc Wade to hire
Jane Taylor in a Senior HP RCT position for Tetra Tech EC, Inc. at Hunters Point Naval
Shipyard, Defendant New World Environmental, Inc. Human Resources Director Kari Guidry,
knowing that Jane Taylor did not satisfy ANSI Standard 3.1 criteria, and knowing that Jane
Taylor had submitted a fraudulent resumé to obtain employment, and knowing that Jane Taylor
did not have the necessary level of training and experience based on the United States Navy

criteria to work at the Hunters Point Naval Shipyard, re-hired Jane Taylor, created an over-budget

-12-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO CS JN DR AO F&F WY HO —

NY nyo NO NO NO NO NO NO NO mm eS ee ee
So SN A FF WD NY |§ ODO OBO BO NIN DH A FF WD YO —| O&O

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 13 of 52

Senior HP RCT position for Jane Taylor which senior Tetra Tech EC, Inc. management agreed to,
and assigned Jane Taylor to work for Tetra Tech EC, Inc. with the intent to defraud in billing
Tetra Tech EC, Inc. and the United State Navy in certifying and implying that all RCT radiation
remediation workers, including Jane Taylor, met the United State Navy standards for the position.
21. Defendant New World Environmental, Inc. falsely certified and implied
certification to Tetra Tech EC, Inc., Tetra Tech, Inc. and to the United States Navy that all RCT
nuclear radiation remediation specialists, including Jane Taylor, satisfied ANSI Standard 3.1
criteria and met training and experience requirements to be hired and to perform in the RCT job
category. Defendant New World Environmental, Inc. billed Tetra Tech EC, Inc. which billed the
United States Navy for the payroll, per diem and benefit costs incurred for nuclear radiation
remediation workers, including RCT nuclear radiation remediation specialists such as Jane Taylor
who were knowingly not qualified to be hired and to perform the nuclear radiation remediation
services for their job category based on the terms specified by the United States Navy on a two
week basis. Defendant Tetra Tech EC, Inc., with knowledge of the lack of ANSI Standard 3.1
criteria qualifications, lack of training, lack of required experience, and the fraudulent conduct of
Jane Taylor, was directly involved in returning Jane Taylor to work by and through New World
Environmental, Inc. under the United States Navy contract. Defendant Tetra Tech EC, Inc.
falsely certified and implied certification that all RCT nuclear radiation remediation specialists
performing services under the contract with the United States Navy were qualified to perform in
those positions, and received payments under the contract with the United States Navy due to the
profit margin, salary, per diem, and benefit costs incurred by the use of individuals who were
knowingly not qualified to perform in the RCT positions. Defendant New World Environmental,
Inc. and Defendant Tetra Tech EC, Inc. engaged in a conspiracy to defraud the United States
Navy by hiring and using Jane Taylor in the Senior HP RCT nuclear radiation remediation
specialist position with knowledge of her fraudulent resumé and with knowledge that Jane Taylor
did not satisfy ANSI Standard 3.1 criteria to work as a Senior HP RCT at Hunters Point Naval
Shipyard under the rules and regulations of the contract with the United States Navy. The

fraudulent scheme to employ knowingly unqualified RCT nuclear radiation remediation

-13-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO Se NY WO AW FF WY YN —

NO NO NO NY NO NV N NO NO = =| Fe = ee OOS OO ES le
ao NN UM FF WY NO |§ DO Oo Oo HN DH OH Fk WY NO —|& OC

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 14 of 52

specialists by New World Environmental, Inc. with the express condition to comply with the rule
and regulation of the United States Navy that such workers satisfy ANSI Standard 3.1 criteria,
and not disclose the lack of qualifications, had a material effect in causing the contract
administration office of the United States Navy NAVFAC SW Division to authorize payment on
a monthly basis to Tetra Tech EC, Inc. for the invoices billed by New World Environmental, Inc.
The conduct of Defendant New World Environmental, Inc. and Tetra Tech EC, Inc. violated 31
USC §3729(a)(1)(A), (B) and (C).

22. On or about January 1, 2011, Defendant Tetra Tech EC, Inc. entered into
contractual arrangements with Defendant ALEUT WORLD SOLUTIONS to supply RCT nuclear
radiation remediation specialists who met the United States Navy mandated ANSI Standard 3.1
criteria and met training and experience requirements to be hired to perform in the RCT job
category, replacing in part the role that Defendant New World Environmental, Inc. previously
filled in supplying these RCT workers. A number of nuclear radiation remediation supervisors
from Defendant New World Environmental, Inc. transferred over to Defendant Tetra Tec EC, Inc,
and ALEUT WORLD SOLUTIONS at or around that time. A number of the RCT nuclear
radiation remediation specialists who had been working under Defendant New World
Environmental, Inc. for Tetra Tech EC, Inc. at Hunters Point Naval Shipyard were transferred
over as employees to ALEUT WORLD SOLUTIONS, and other RCT workers transferred to a
second subcontractor for Tetra Tech EC, Inc. Management of ALEUT WORLD SOLUTIONS,
including but not limited to the Vice President-Operations, had personal knowledge that the
resumé of Jane Taylor was fraudulent, that Jane Taylor lacked the training and experience for the
RCT position, that Jane Taylor did not satisfy ANSI Standard 3.1 criteria to be hired into an RCT
position, and that the employment and continued employment of Jane Taylor as a Senior HP RCT
nuclear radiation remediation specialist at Hunters Point Naval Shipyard was contrary to the
requirements of the United States Navy and a fraud. ALEUT WORLD SOLUTIONS, despite the
knowledge that the resumé and claimed experience of Jane Taylor was a fraud, hired Jane Taylor,
assigned her as a Senior HP RCT nuclear radiation remediation specialist to Tetra Tech EC, Inc.

to work on the nuclear remediation clean up at Hunters Point Naval Shipyard under contract with

-14-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oS C6 NY DH A FSF WH YO —

OO bh NO VN KN KRDO RQ RO RO me me me me et
oo SN TNO OH FSF WD NDOlUlUEElUCOllUlmlClClCCOOClClOCUN UNCON ROW lH

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 15 of 52

the United States Navy, and billed Tetra Tech EC, Inc. which billed the United States Navy for
the payroll, per diem and benefit costs incurred for nuclear radiation remediation workers,
including RCT nuclear radiation remediation workers such as Jane Taylor who were knowingly
not qualified to be hired and not qualified to perform the nuclear radiation remediation services
for the RCT job category based on the terms specified by the United States Navy.

23. Defendant ALEUT WORLD SOLUTIONS falsely certified and implied
certification to Tetra Tech EC, Inc., Tetra Tech, Inc. and to the United States Navy that all RCT
nuclear radiation remediation specialists, including Jane Taylor, satisfied ANSI Standard 3.1
criteria, and met training and experience requirements to be hired and to perform in this job
category. Defendant ALEUT WORLD SOLUTIONS billed Tetra Tech EC, Inc. which billed the
United States Navy for the payroll, per diem and benefit costs incurred for RCT nuclear radiation
remediation specialists, including nuclear radiation remediation workers such as Jane Taylor who
were knowingly not qualified to be hired and not qualified to perform the RCT nuclear radiation
remediation services for the RCT job category based on the terms specified by the United States
Navy. Defendant Tetra Tech EC, Inc., with knowledge of the lack of meeting ANSI Standard 3.1
criteria, lack of necessary training, and lack of required experience of Jane Taylor, was directly
involved in having Jane Taylor continue to work under the United States Navy contract and in
having Jane Taylor employed and retained through ALEUT WORLD SOLUTIONS. Defendant
Tetra Tech EC, Inc. falsely certified and implied certification that all RCT nuclear radiation
remediation workers performing services under the contract with the Unites States Navy were
qualified to perform in those positions, and received payments under the contract with the United
States Navy due to the profit margin, salary, per diem, benefit costs incurred for the use of
individuals who were knowingly not qualified to perform in the RCT positions based on the
United State Navy requirements. Defendant ALEUT WORLD SOLUTIONS, Defendant Tetra
Tech EC, Inc., and Defendant Tetra Tech, Inc. engaged in a conspiracy to defraud the United
States Navy by hiring, retaining and billing for Jane Taylor in the Senior RCT nuclear radiation
remediation specialist position with knowledge of her fraudulent resumé, fraud in obtaining

employment on the Hunters Point project, and by knowing that she did not satisfy ANSI Standard
-15-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 16 of 52

3.1 criteria to work as a Senior RCT at Hunters Point Naval Shipyard under the rules and
regulations of the contract with the United States Navy. The fraudulent scheme to knowingly
employ unqualified RCT nuclear radiation remediation specialists by ALEUT WORLD
SOLUTIONS with the express condition to comply with the rules and regulations of the United
States Navy that such workers satisfy ANSI Standard 3.1 criteria, and not disclose the lack of
qualifications, had a material effect in causing the contract administration office of the United
States Navy NAVFAC SW Division to authorize payment on a monthly basis to Tetra Tech EC,
Inc. for the invoices billed by ALEUT WORLD SOLUTIONS to Tetra Tech EC, Inc. The
conduct of Defendant ALEUT WORLD SOLUTIONS, Defendant Tetra Tech EC, Inc. and
Defendant Tetra Tech, Inc. violated 31 USC §3729(a)(1)(A), (B) and (C).

24.  Onor about June 8, 201 land continuing, with the knowledge of managers of Tetra
Tech EC, Inc. and Aleut World Solutions, nuclear radiation remediation workers employed by
Aleut World Solutions and overseen by Tetra Tech EC, Inc., including but not limited to Jane
Taylor and Marie Snyder Winder, intentionally entered false timecard entries to obtain % hour of
overtime on a regular basis for time that was not worked, making such false overtime entries one
or more times per week as having worked | % hours of overtime when 1! hour of overtime or less
was worked. Tetra Tech EC, Inc. management, including but not limited to Construction
Superintendent Dennis McWade, permitted Jane Taylor to have access to, control of, and
authority to enter time entries in the timecard system contrary to standards, procedures and
controls, and the rules and regulations of the United States Navy. Tetra Tech EC, Inc.
management permitted and allowed the violation of standards, procedures and controls involving
the timecard entry system with the knowledge and intent of permitting particular nuclear radiation
remediation workers, including Jane Taylor and Marie Winder, to falsify timecards to obtain
overtime based on fraud. Fraudulently billed overtime amounts of no less than 2 hour per day by
Jane Taylor were made on June 8, 13, 15, 17, 20, 22, 24, 27, 29, and July 1 for the billing of July
2, 2011 by Aleut World Solutions, and with similar fraudulent billing of no less than % hour per
day for Marie Winder. Jane Taylor and Marie Winder conspired to submit the fraudulent

overtime entries and coordinated their fraud by making efforts to list only one of the two as

-16-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO Oo ANY DBD Wo FSF W YO -

NO wo KN NO NO KN HNO HNO RO mo meet
oo nN DWN A FF WH NO |§ Do 0D DB sa DB WA FP HO HO |= BS

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 17 of 52

obtaining the extra 4 hour of overtime on any particular day, effectively taking daily turns on
submitting the fraudulent overtime entries. The fraudulent overtime entries by Jane Taylor and
Marie Winder began on or about February of 2011 and continued thereafter.

25. During the time that New World Environmental, Inc. supplied RCT workers to
Tetra Tech EC, Inc. Plaintiff Andrews informed management that numerous RCT workers were
leaving the Hunters Point worksite early, but were fraudulently placing on the timecards entries
that they had worked full work shifts. Management of New World Environmental, Inc. followed
up the report by Plaintiff Andrews and in approximately 2007 obtained a timecard machine that
required a hand scan of the individual to clock in and to clock out and installed this hand scan
timecard machine at the Hunters Point Naval Shipyard project. The use of the hand scan timecard
machine reduced dramatically the fraudulent timecard entries of RCT workers at Hunters Point.

26. In mid-2009, Construction Superintendent Dennis Mc Wade began complaining
about the use of the hand scan timecard machine at Hunters Point. Dennis McWade had begun
living with RCT Jane Taylor and often commuted to work with Jane Taylor. Due to his position
as Construction Superintendent for Tetra Tech EC, Inc., Dennis Mc Wade did not have to use the
hand scan timecard machine and often sought to leave work at Hunters Point prior to the
scheduled shift ending for Jane Taylor, who could not easily falsify the time she left due to the
use of the hand scan timecard machine. Dennis McWade wished to leave the worksite early and
wanted Jane Taylor to accompany him, but she was unable to do so without a docking of pay
since she had to use the hand scan timecard machine to clock out of work.

27. In January of 2011 when New World Environmental, Inc. was removed as the
supplier of RCT specialists at Hunters Point, Tetra Tech EC, Inc., Construction Superintendent
Dennis McWade and Construction Project Manager William Dougherty demanded that
Defendant Aleut World Solutions not use the hand scan timecard machine, and insisted that New
World Environmental, Inc. remove the hand scan timecard machine from Hunters Point. The
hand scan timecard machine was removed in early 2011 from Hunters Point.

28. After Aleut World Solutions was installed as the supplier of RCT specialists in

place of New World Environmental, Inc., Tetra Tech EC, Inc. Project Manager Dougherty and
-17-

COMPLAINT

A

=
es
fe
B
“i
HH
°
9
ND

nw
=
~~
i
&
—
2
n
&
i
a
pa
be
n
m4
fd
HH
&
2
n
eo
eo
oy
-

n
oS
=
+
N
<
O
S
G
2
G
Z
<q
me
oy
Zz
<q
4

oO oOo JF BH WO FF WD YO —

No NO NY HN NY WHY NH NHN NHN = §- = =| Se Se SO eSetllc elle

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 18 of 52

Construction Superintendent McWade assigned Jane Taylor to manage all timecard entries and to
report to Aleut World Solutions the work hours of RCT specialists working for Aleut World
Solutions. Tetra Tech EC, Inc. Project Manager Dougherty and Construction Superintendent
McWade chose Jane Taylor to oversee, control, manage, and report work hours for RCT
specialists working for sub-contractor Aleut World Solutions to enable Jane Taylor to
fraudulently manipulate the time entries to satisfy Jane Taylor and the desires of Tetra Tech EC,
Inc. Construction Superintendent Dennis McWade.

29. Shortly after Jane Taylor was assigned responsibility of oversight, control,
management, and the reporting of work hours for the RCT specialists, Jane Taylor and Marie
Winder entered into a conspiracy to defraud Aleut World Solutions, Tetra Tech EC, Inc. and
ultimately the United States Navy. The RCT specialists were regularly scheduled to work a 9
hour shift beginning at 7 a.m. with the start of the safety meeting on site at Hunters Point. Jane
Taylor and Marie Winder conspired to fraudulently enter an additional % hour of overtime on the
weekly timesheets for themselves, and to coordinate the entries of that “% hour of overtime to
minimize the number of entries in which both would be listed as working the extra 2 hour of
overtime on the same date. Week after week, Jane Taylor and Marie Winder entered the
fraudulent % hour of overtime in a systematic and coordinated manner, Plaintiff Andrews alerted
supervisors of Tetra Tech EC, Inc. to the fraudulent overtime scam of Jane Taylor and Marie
Winder, and was advised to drop the subject due to the protected status of Jane Taylor due to her
sexual relationship with Construction Superintendent Dennis McWade. Tetra Tech EC, Inc.
management, including but not limited to Project Manager William Dougherty and Construction
Superintendent Dennis Mc Wade, were aware of and permitted the fraudulent entry and
submission of overtime by Jane Taylor and Marie Winder.

30. Shortly after Jane Taylor was assigned responsibility of oversight, control,
management, and reporting of work hours for the RCT specialists, Jane Taylor and Marie Winder
no longer adhered to the work schedule’s end of the day. Rather, due to the unfettered leeway
Jane Taylor had over falsifying the timecard entries, her protected status due to her relationship

with Tetra Tech EC, Inc. Construction Superintendent Dennis Mc Wade, and the desire of Dennis
- 18 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oOo co SN DB Ww FP WH HO

N wo NO NO KN HN HN NO RO mR ee OO ee ele
oo ~sN BN UAW FS WO NO —|§ DF 0O CO IJ DB WwW HR WH HPO HH OD

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 19 of 52

McWade for Jane Taylor to leave with him before Jane Taylor’s shift had completed, Jane Taylor
and Marie Winder on a regular and recurring basis left work early rather than work the full 9 hour
scheduled work period, but fraudulently entered a full 9 hours or more.

31. Defendant Aleut World Solutions, with knowledge of the false timecard entries by
RCT nuclear radiation remediation specialists, including but not limited to Jane Taylor and Marie
Winder, certified and implied certification that the time records, and billing for payroll, were true
and correct, when Defendant Aleut World Solutions management knew that the billing records
were false. Defendant Tetra Tech EC, Inc. with knowledge of the false timecard entries by RCT
nuclear radiation remediation specialists, including but not limited to Jane Taylor and Marie
Winder, certified and implied certification that the time records, and billing and reporting to the
United States Navy for payroll were true and correct, when Tetra Tech EC, Inc. management
knew that the billing records were false. Defendant Aleut World Solutions and Defendant Tetra
Tech EC, Inc. engaged in a conspiracy to defraud the United States Navy by billing and
submitting for reimbursement the fraudulent billing for overtime for Jane Taylor and Marie
Winder with the knowledge that the overtime listings were fraudulent. The fraudulent scheme to
bill for overtime not worked by Aleut World Solutions and Tetra Tech EC, Inc., with the express
condition to comply with the rule and regulation of the United States Navy that all time billed be
actually worked had a material effect in causing the contract administration office of the United
States Navy at NAVFAC SW Division to authorize payment on a monthly basis to Tetra Tech
EC, Inc. for the invoices billed by Aleut World Solutions for the fraudulent overtime listed by
Jane Taylor and Marie Winder. The conduct of Defendant ALEUT WORLD SOLUTIONS and
Tetra Tech EC, Inc. violated 31 USC §3729(a)(1)(A), (B) and (C).

32. | The contract and requirements of the United States Navy requires that Tetra Tech
EC, Inc. perform the nuclear radiation remediation services for the Hunters Point Naval Shipyard
meeting certain minimum standards and procedures. Defendant Tetra Tech EC, Inc. certified that
it met the minimum standards and procedures for the nuclear radiation remediation services to the
Unites States Navy for the services Tetra Tech EC, Inc. and its subcontractors performed. Tetra

Tech EC, Inc. repeatedly and knowingly failed to meet the minimum standards and procedures

-19-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO fo NSN NH OO SF WD NO

No NO NO NO NO NHN NN HN HNO wm wr ee
oo NN DW UN FP WY NY —|§ DS Oo DB tN DBO TD SP WD NY | OS

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 20 of 52

for the nuclear radiation remediation services performed but falsely certified and implied
certification to the United States Navy that the minimum standards and procedures for the nuclear
radiation remediation services have been performed and met.

33. | Defendant Tetra Tech EC, Inc. certified and implied certification that all soils and
materials processed at Hunters Point were processed, evaluated, and correctly designated as
having met the Remediation Goals, or had failed the Remediation Goals (RG) imposed by the
contract with the United States Navy contract, rules, regulations, and protocols. Defendant Tetra
Tech EC, Inc. certified or implied certification that soils had met the RG standards, when
Defendant Tetra Tech EC, Inc. knew that soils failed the RG standards. Defendant Tetra Tech
EC, Inc. knowingly certified or implied certification that soils had been properly sampled and
tested under the rules, protocols and standards established under the contract with the United
States Navy when Defendant Tetra Tech EC, Inc. knew that the soils had not been properly
sampled and tested under these rules, protocols and standards. Defendant Tetra Tech EC, Inc.
certified and implied certification that equipment and materials released from Hunters Point met
radiological release levels when Defendant Tetra Tech EC, Inc. knew that equipment and
materials released did not meet radiological release levels. Defendant Tetra Tech EC, Inc.
certified and implied certification that all equipment and materials designated for free release had
been tested for release pursuant to rules, regulations and protocols and met the required radiation
release levels required by the United States Navy contract when Defendant Tetra Tech EC, Inc.
knew that such materials had not been tested for release pursuant to the rules, regulations and
protocols that were required by the contract with the United States Navy and knew and had
reason to know that such materials did not meet the release levels.

34. A fundamental function of the nuclear radiation testing and remediation services
the United States Navy contracted with Tetra Tech EC, Inc. to perform is the screening of soil for
nuclear radiation contamination, the remediation of that soil to Remediation Goal levels, and the
classification and containment of soil that could not be remediated below the RG levels. Federal
and California agencies reached agreements with the United States Navy in the setting of

Remediation Goals for soil to be “free released” which allowed the soil to be used at Hunters

- 20 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Co Oo SN BH TO BF DY NO —

NO NO NO NO NO NO NO NO RO wm ee
So AN DB OT FSF WD NO | Do BO S&Bo ss HDB WT BP WO HPO S| O&O

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 21 of 52

Point as clean fill dirt for back fill purposes, or shipped offsite as soil which met the established
RG. Tetra Tech EC, Inc. agreed to testing procedures, rules, regulations, and operating
procedures under the contract with the United States Navy pertaining to the radiological clean-up
of Hunters Point and the sampling and testing to be done to determine whether soils meet the RG
required under the contract. The designation of soil to be “free released” resulted in substantially
less time and fewer costs to Defendant Tetra Tech EC, Inc. than if the soil was designated as soil
with radioactivity above the Remediation Goal levels under the contract. Due to the terms and
conditions of the contract, Defendant Tetra Tech EC, Inc. had a financial self interest in soils
being designated and treated as “free release” soil.

35. | Under the contract with the United States Navy, a Multi-Agency Radiation Survey
and Site Investigation Manual (MARSSIM) was established that set forth investigation,
remediation, and final confirmation processes and procedures for soil remediation. Defendant
Tetra Tech EC, Inc. was required under the contract with the United States Navy to follow the
rules, procedures, and protocols established including those contained in the MARSSIM. The
MARSSIM required that a Survey Unit be established of soil, and that 18 confirmation samples
be taken from each Survey Unit. Soil was not to be free released until all Final Status Survey
samples for a Survey Unit had reported results below the remediation goal. The confirmation
samples were to be taken from the Survey Unit throughout the Unit with a focus on areas of the
Unit that had elevated radiological readings. Defendant Tetra Tech EC, Inc. was required by the
rules, regulations, and contract to comply with these requirements and directives contained in the
MARSSIM.

36. Radiological testing and the designation of soil excavated as either qualified for
free radiological release or that the soil exceeded the MARSSIM free release Remediation Goal
and had to be removed to specialized sites for storage of radiation contaminated soils and
materials was a major and critically important component of the contract between the United
States Navy and Defendant Tetra Tech EC, Inc.

37. Tetra Tech EC, Inc. processed soil for remediation and testing by establishing

Survey Unit “pads” upon which excavated soil was placed and spread out to about a uniform

-21-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO So NY BDH A F&F WY NYO =

NO NNO NO NO LO KN RQ RO RO ww wm meme me et
oo XN BH A Ff WY NY | FDS Oo SBS NH DO Hn FSF WD NY | OS

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 22 of 52

smoothed six inch depth. A towed array detector system (towed array) was slowly pulled over
the pad by a small tractor with sensors that detected radioactivity intensity levels. The towed
array used a Global Positioning System (GPS) to electronically report soil positions that were
identified by the towed array system as having high radioactive readings.

38. | The towed array GPS report with radioactive level readings was transmitted to a
Radiation Data Analyst. The Analyst was to identify 18 positions on the pad that represented the
highest levels of radioactivity. The Analyst was to transmit information of the GPS locations of
the 18 highest radioactive readings to a Senior RCT. The Senior RCT was to have samples taken
from the 18 identified GPS positions on the pad. The Senior RCT was to take the samples to a
predetermined area of low radioactive background and scan the samples. Samples with high
radioactive readings were not delivered to the lab but deposited in a Department of Transportation
approved contained for radioactive waste to be disposed of off-site with companies that accepted
radioactive wastes, and a replacement sample was to be taken from pad area with the high reading
samples. The 18 resulting samples were taken to an on-site lab operated under the direction of
Tetra Tech EC, Inc. to test the radioactivity levels of the soil samples provided by the Senior
RCT. The towed array and laboratory results were reported to management of Tetra Tech EC,
Inc. as well as to the United States Navy Radiological Affairs Support Office (RASO) with a
recommendation to free release the Survey Unit soil on the pad, or for the soil to be removed to
specialized sites at Hunters Point for storage of radiation contaminated soils pending off site
shipment in DOT approved containers to Nuclear Regulatory Commission authorized sites to
receive radioactive wastes.

39. The United States Navy RASO was responsible for oversight of the processes,
procedures, and accuracy of the soil surveys, sampling and testing by Defendant Tetra Tech EC,
Inc.. RASO staff, in consultation with Defendant Tetra Tech EC, Inc. made the determination
whether Survey Unit soil was to be free released, remediated and re-tested, or categorized as soils
that could not be remediated to below Remediation Goal levels. Survey Unit soil that RASO
cleared as at or below the Remediation Goal was “free released” and used as non-radioactive fill

at Hunters Point Naval Shipyard and also was shipped off site and disposed of as non-radioactive

-22-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO So NN DO OO ee WY! NYO =

BO NO KN BN KN DN DN RO RO mm et
ao NN DN ONO Pe WY NY —|& DOD OO CO NHN WO WA BP W NYO KH CC

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 23 of 52

waste when contaminated with other non-radioactive pollutants. Disposition of Survey Unit soils
as non-radioactive fill at Hunters Point Naval Shipyard is the lowest cost disposition of the soil to
Tetra Tech EC, Inc. Processing and disposition of soils designated as radioactively contaminated
soil above the minimal safe Remediation Goal level was the most expensive and time consuming
for Tetra Tech EC, Inc. and other sub-contractors to contain, process, transport, and remove.

40. Defendant Tetra Tech EC, Inc. engaged in efforts to have Survey Unit soil falsely
designated for “free release”. Defendant Tetra Tech EC, Inc. engaged in a number of efforts to
falsely effect and influence a variety of steps in the Survey Unit soil designation, including the
selection of the 18 points of soil to be tested, the taking of soil samples for testing, and sought to
influence the oversight of the processed soil by the responsible Navy RASO official.

41. | The Navy RASO Radiological Site Manager over the Hunters Point Naval
Shipyard project is and has been Ms. Laurie Lowman, a long-term employee of the Navy and its
radiological programs. Laurie Lowman is and has been the central individual of the Navy RASO
office to oversee the radiological remediation conduct and progress of Tetra Tech EC, Inc., and
has some authority and discretion to make decisions that impact the sampling, testing, operations,
and results of Tetra Tech EC, Inc. in the nuclear radiological remediation processes at Hunters
Point.

42. In approximately late 2009, top management of Tetra Tech EC, Inc., including
Senior Vice President Andrew Bolt, and Tetra Tech, Inc. top management determined that the
hiring of the son of Navy RASO Radiological Site Manager Laurie Lowman should be pursued to
potentially influence and assist the relationship between Tetra Tech EC, Inc. and RASO related to
the Hunters Point Naval Shipyard contract and remediation. On information and belief it is
alleged that Laurie Lowman’s son, Thorpe Miller, had recently been terminated from working
with Target Stores in Virginia due to theft, and that he had no experience or training in nuclear
radiation remediation and testing. The information upon which the belief is based is that Plaintiff
Bowers was personally informed by a Vice President of Operations of New World
Environmental, Inc. and later the Vice President of Operations of Aleut World Solutions the

information above regarding Thorpe Miller, and is also based on Plaintiff Bowers’ knowledge of

-23-

COMPLAINT

SCOTT LAW FIRM
1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 24 of 52

Thorpe Miller who was later assigned to Plaintiff Bower’s as his subordinate. Tetra Tech EC, Inc.
violated standard protocol and hired Thorpe Miller in late 2009 without allowing the manager that
Thorpe Miller would directly report to, namely Radiation Safety Officer Representative Bert
Bowers, to interview or provide any input into whether Thorpe Miller would be hired. On
information and belief it is alleged that the hiring of Laurie Lowman’s unemployed son, Thorpe
Miller, by Tetra Tech EC, Inc., was done to influence Laurie Lowman, the Navy RASO
Radiological Site Manager responsible for the Hunters Point remediation project and oversight of
Tetra Tech EC, Inc., and not due to the skills, training and experience of Thorpe Miller.

43. Defendant Tetra Tech EC, Inc. top management sought to increase the conflict of
interest and influence that the hiring by Tetra Tech EC, Inc. had on Navy RASO Radiological
Site Manager Laurie Lowman by giving her son, Thorpe Miller, a significant pay grade and
payroll increase within one year after being hired. Defendant Tetra Tech EC, Inc. management,
including Project Manager Bill Dougherty, directed Plaintiff Bowers that the review of Thorpe
Miller was to be done with a high rating so that a pay grade and substantial salary increase could
be justified for Thorpe Miller. Plaintiff Bowers, being aware of the objective and directive given
by Project Manager Dougherty, completed the performance review for Mr. Miller with
satisfactory ratings. Tetra Tech EC, Inc. Project Manager Dougherty personally met with
Plaintiff Bowers and directed that ratings be upwardly changed to include outstanding ratings of 1
and 2, when Plaintiff Bowers had only given Mr. Miller ratings of 3. Project Manager Dougherty
also directed changes to the written text of the performance review to enhance the review for Mr.
Miller. Project Manager Dougherty informed Plaintiff Bowers that these changes were to be
made so that Mr. Miller would receive the pay grade increase and salary increase which could
only be justified with such high ratings. These increased ratings were not the opinion of Plaintiff
Bowers, who informed his direct report, Erik Abkemeir, of the directive by Project Manager
Dougherty. The inflated ratings and text were entered onto the performance review and
submitted to Mr. Miller in place of the ratings and text that Plaintiff Bowers had given as his

evaluation for Mr. Miller.

-24-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo Oo NN OH FP WD NO =

No PW NO NH NH WTO PQ DRO RO wm ome me mee me ee et
oN NHN OO SP OW NDE lUDlUlUlUlUlCUCCOlUOWOUMUGCN UNO RO Nl CD

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 25 of 52

44. After Thorpe Miller worked directly on the payroll of Tetra Tech EC, Inc. for
approximately one year, top level managers of Tetra Tech EC, Inc. and Tetra Tech, Inc.
concluded having Thorpe Miller on the payroll of Tetra Tech EC, Inc. was too obvious to
outsiders as a nepotistic conflict of interest to influence RASO Radiological Site Manager Laurie
Lowman. Management of Tetra Tech EC, Inc. and Tetra Tech, Inc., including Senior Vice
President, Andrew Bolt, directed that Thorpe Miller be removed from the payroll of Tetra Tech
EC, Inc. and that his employment be taken over by a sub-contractor for Tetra Tech EC, Inc. to
hide the nepotism and conflict of interests, with Tetra Tech EC, Inc. agreeing to pay all salary,
benefits, and additional profit to the subcontractor due to the hire of Thorpe Miller by the
subcontractor. Management of Tetra Tech EC, Inc. arranged for and coordinated the “hire” of
Thorpe Miller by subcontractor IO Environmental & Infrastructure in which Tetra Tech EC, Inc.
Project Manager Bill Dougherty’s wife, Christine B. Dougherty, was a manager working as a sub-
contractor also for Tetra Tech EC, Inc. Subcontractor IO Environmental & Infrastructure agreed
to these terms and took over the formal employment and payroll of Thorpe Miller to
accommodate the requests of Tetra Tech EC, Inc., but Thorpe Miller’s job, desk, and duties
continued to be exactly the same working on the Hunters Point contract as they were when Tetra
Tech EC, Inc. was the direct employer. Shortly after Thorpe Miller’s employment was
exchanged between Tetra Tech EC, Inc. and IO Environmental & Infrastructure, Thorpe Miller
married Karisa Miller. Tetra Tech EC, Inc. requested that sub-contractor IO Environmental &
Infrastructure hire the wife of Thorpe Miller to strengthen the potential influence on RASO
Radiological Site Manager Laurie Lowman. Karisa Miller was hired without a competitive hiring
process by IO Environmental & Infrastructure to work as a sub-contractor for Tetra Tech EC, Inc.
under the Hunters Point contract due to the request by Tetra Tech EC, Inc.

45. | Upper management of Tetra Tech EC, Inc. directed that Thorpe Miller work in the
nuclear remediation support area which RASO Radiological Site Manager Laurie Lowman would
have direct responsibility over for RASO on behalf of the Navy, despite Mr. Miller’s lack of

experience in nuclear remediation work. The Tetra Tech EC, Inc. Radiation Safety Office

-25-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oOo Se IN DN A FP WY NO

NO NO NO NO DN KR KN NO NO mm i le
“ao NN NO ON FF WY NY KF DOD OBO COON HR OH eRe NY KH CO

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 26 of 52

Representative that Mr. Miller reported to directly, Plaintiff Bert Bowers, was not consulted nor
did he approve the assignment of Mr. Miller to the Radiological Data Analyst position.

46. During the relevant time periods, Tetra Tech EC, Inc. had developed and used a
“towed array” detector device with radiological sensing instruments that was designed to be
slowly pulled behind a tractor over Survey Unit soil. The towed array radiation sensing
instruments transmitted information of “hot spots” of radiation sources with Global Positioning
System (GPS) coordinates linked to a computer. The towed array GPS radiological hot spot
information went to Mr. Miller as the Radiological Data Analyst. Mr. Miller was to provide a
map of the Survey Unit soil with GPS coordinates identifying the highest 18 radioactive soil
locations so that Senior RCT specialists would take a sample of each of the 18 soil locations for
laboratory analysis. The Senior RCT specialist was to take the map issued by Mr. Miller of the
Survey Unit soil with 18 locations identified as the highest radiologically tested readings from the
towed array. The Senior RCT was to consult the GPS map and use a hand held radiological
scanning instrument to locate and identify the specific soil locations emitting the high radioactive
levels. The Senior RCT was to take or direct Junior RTC specialists to take samples of the soil
with the high radioactivity emissions, so that a sample from the 18 highest radioactivity soil
locations would be sampled for analytical soil testing by the Tetra Tech EC, Inc. on site
laboratory. The laboratory analysis of the 18 soil samples were to be forwarded to management of
Tetra Tech EC, Inc. and to the Navy RASO office to be determined if the Survey Unit soil would
be “free released”, subjected to further remediation to try and lower the radiological readings to
meet Remediation Goal levels, or contained and shipped out to Nuclear Regulatory Commission
licensed and authorized radiological waste disposal facilities soil above the Remediation Goal
levels.

47. Tetra Tech EC, Inc., with knowledge of the false resumé, lack of training and
experience, and absence of ANSI Standard 3.1 compliance by Jane Taylor, assigned Jane Taylor
to supervise and manage the taking of soil samples that were to be tested for Tetra Tech EC, Inc.
and the Navy RASO office to determine if the soil would be used as free release soil, had to be

remediated and retested, or had to be treated and removed as radioactively contaminated soil

- 26 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 27 of 52

above the Remediation Goal levels. On information and belief it is alleged that Tetra Tech EC,
Inc. knew and expected that Jane Taylor would direct the taking of Survey Unit soil samples to
fraudulently increase the designation of contaminated soil as meeting the free release radiation
levels. In 2010 and thereafter Tetra Tech EC, Inc. also assigned Marie Snyder Winder as a fill-in
and substitute for Jane Taylor to supervise and manage the taking of soil samples that were to be
tested for Tetra Tech EC, Inc. and the Navy RASO office to determine if the soil could be used as
free release soil, had to be remediated and retested, or had to be treated and removed as
radioactively contaminated soil above the Remediation Goal levels. On information and belief it
is alleged that from 2010 on, Tetra Tech EC, Inc. management knew that Marie Winder was
submitting fraudulent timecard entries during this time period, and knew and expected that Marie
Winder would direct the taking of Survey Unit samples to fraudulently increase the designation of
contaminated soil as meeting the free release radiation levels.

48. On information and belief it is alleged that Tetra Tech EC, Inc. management in
2010 and thereafter assigned Jane Taylor and Marie Winder to supervise and manage the taking
of soil samples from Survey Units so that Survey Units would not be properly sampled, resulting
in fraudulent sampling of the Survey Units so that the 18 samples taken were not consistently
taken from the 18 highest radioactive readings from the towed array GPS data. Experienced and
qualified radiological remediation workers advised management of Tetra Tech EC, Inc. that Jane
Taylor and Marie Winder, and the laborers they supervised, were not performing the radiological
sampling of the soil according to standards set forth in the agreement, rules, regulations and
protocols with the United States Navy, and such conduct would result in soil being designated for
free release as fill although the soil was radiologically impacted beyond the Remediation Goal
levels established by the contract with the United States Navy and regulatory agencies. For
example, Plaintiff Archie Jackson informed Tetra Tech EC, Inc. management that Jane Taylor
directed laborers to just take any soil, not even from the Survey Unit, and place the soil in the
sample containers for radioactive isotope testing rather than use the towed array GPS mapping
coordinates provided by Thorpe Miller to extract representative radioactive material for testing as

identified by the towed array. Experienced and qualified radiological remediation workers

-27-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 28 of 52

advised management of Tetra Tech EC, Inc. that Jane Taylor and Marie Winder and the non-RTC
laborers they supervised improperly used the hand held radiation detection instruments in a
manner contrary to the specifications of the contract and requirements with the United States
Navy such that radioactive material would not be located, identified and subjected to testing to
determine whether the soil should be treated as radioactively contaminated soil above the
Remediation Goals or be designated for free release that could be used at Hunters Point as clean
fill soil, or shipped off site as non-radioactive soil. Other companies performing services for the
United States Navy at Hunters Point learned and reported that the soil processed by Tetra Tech
EC, Inc. and designated as clean fill and used as fill at Hunters Point that Jane Taylor and Marie
Winder oversaw the sampling for testing of had not been properly collected, was not
representative of the soil identified as of radioactive concern for testing, and contained dangerous
materials with high radioactive levels . Employees of Shaw Engineering worked in areas at
Hunters Point with soil that Tetra Tech EC, Inc. and RASO designated for free release as clean
fill for Hunters Point which was put back into processed trench areas at Hunters Point. The soil
sampling of this “free release” clean fill had been done and supervised by Jane Taylor and Marie
Winder. Employees of Shaw Engineering found elevated radioactive materials contained in the
soil designated as clean fill emitting radioactivity above the Remediation Goal established by the
United States Navy, including finding a radioactive radium button that emitted radioactivity far in
excess of the minimal safe levels and Remediation Goal established by the United State Navy
requirements.

49. Radiological Data Analyst Thorpe Miller received towed array information that
identified the intensity of the radioactivity of the Survey Unit soils to be sampled under the
supervision of Jane Taylor and Marie Winder. Mr. Miller also received the lab analysis of the
samples of the Survey Unit soils taken under the supervision of Jane Taylor and Marie Winder.
Mr. Miller had responsibility to review the towed array information with the resulting laboratory
test results from the Survey Unit soil samples. The Survey Unit soil laboratory results were
regularly lower than the radioactive intensity readings that would have been indicated from the

towed array reports. The regular lower radioactive intensity readings were due to fraudulent use

- 28 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 29 of 52

of the towed array report in the taking of soil samples to intentionally take samples for lab testing
from areas that did not have the highest radioactive readings. The inconsistent information
between the towed array intensity readings and the laboratory results, when the sampling was
taken and supervised by Jane Taylor and Marie Winder, compared with the towed array and
laboratory results when taken and supervised by skilled, dedicated RCT specialists indicated that
accurate sampling was not being done by Jane Taylor and Marie Winder and those they
supervised. Radiological Data Analyst Thorpe Miller failed to alert RASO, regulatory agencies,
and his radiological supervisors that the samples taken from Survey Units of soil under the
supervision of Jane Taylor and Marie Winder were being done in a manner to obtain lower
radioactive lab results to fraudulently obtain clearance for the release of soil with radioactivity
that exceeded the release levels. The fraudulent use of the towed array maps and soil sampling
for lab testing violated the rules, regulations, and contract between the United States Navy and
Tetra Tech EC, Inc.

50. RASO Radiological Site Manager Laurie Lowman, the mother of Radiological
Data Analyst Thorpe Miller for Tetra Tech EC, Inc. sub-contractor IO Environmental &
Infrastructure, and mother-in-law of Karisa Miller also working for IO Environmental &
Infrastructure, had access to the towed array GPS information for Survey Units that provided
information as to the location and intensity of radioactive materials in the soil. RASO Lowman
also had access to the sample laboratory results for the soil from the Survey Units. Despite the
inconsistent information between the towed array radiological readings and the lower laboratory
results, RASO Lowman did not contest the accuracy of the soil Survey Unit sampling processes,
and the failed to call into question the processing of the soil samples, such processing now
influenced by the hiring and employment of RASO Lowman’s son and daughter-in-law effected
by Defendants Tetra Tech EC, Inc. and Tetra Tech, Inc.

51. Supervisors and management of Tetra Tech EC, Inc. observed the failures of Jane
Taylor, Marie Winder and the non-RTC laborers they supervised to test and sample the Survey
Unit soil according to the terms and conditions required by the United States Navy, and were

informed of the failures of Jane Taylor, Marie Winder and the non-RTC laborers they supervised.

-29-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 30 of 52

Supervisors and management of Tetra Tech EC, Inc. did not intercede and compel proper surveys
and sampling of Survey Unit soils by Jane Taylor and Marie Winder. The failure of supervisors
and management of Tetra Tech EC, Inc. to intercede and enforce proper surveys and sampling of
Survey Unit soil was due in part to a compelling emphasis of top management of Tetra Tech EC,
Inc. to process and complete the Hunters Point radioactive remediation quickly and with the
lowest costs possible to increase profits for the company, at the expense of proper radiological
remediation. Top managers including Project Manager Bill Dougherty and Construction
Superintendent Dennis McWade by their words, deeds and attitude dramatically emphasized
rapid, less expensive results at the expense of effective remediation procedures required under the
contract, rules, regulations, and procedures mandated by the United States Navy. The failure of
supervisors and management of Tetra Tech EC, Inc. to intercede and enforce proper surveys and
sampling of Survey Unit soil was due in part to the protected status of Jane Taylor due to her
sexual relationship with Tetra Tech EC, Inc. Construction Superintendent, Dennis McWade. The
fraudulent processing of the radiologically impacted soil permitted Tetra Tech EC, Inc. to quickly
and at less expense dispose of radiologically impacted soils above the Remediation Goal that
were fraudulently designated for “free release” to be used as clean fill at Hunters Point or to be
shipped off site as non-radiologically impacted soil. The free release of soil to be used at Hunters
Point was not subjected to subsequent testing, such as screening by the radiation detection portal
monitor, but rather was directed by Defendant Tetra Tech EC, Inc. with knowledge or a
reasonable basis to know that substantial amounts of the soils used as fill at Hunters Point still
contained radioactive materials that exceeded the Remediation Goals required for soil to be used
as clean fill at Hunters Point.

52. Defendant Tetra Tech EC, Inc. had actual knowledge of the falsity and acted in
reckless disregard for the truth of the representation and implied certification to the United States
Navy that the survey, testing and designation of Survey Unit soils at Hunters Point were
performed consistent with the rules, regulations, and protocol required due to the contract with
the United States Navy. The surveys, sampling and testing of Survey Unit soil, if properly

performed with lab results below the Remediation Goal, permitted the Survey Unit soil to be
-30-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo Oo NN BD oH F&F WY LY

mM NO NO HNO VN VN NO RN RO mm Oe ee
ao 4 KH WA FS WHO HO |§ 3D Oo BH HN WD re FSF WD LP | O&O

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 31 of 52

“free released” so that it could be used as clean back fill at Hunters Point, or shipped off Hunters
Point as soil that was not radioactive. Tetra Tech EC, Inc. was required by the terms of the
contract with the United States Navy to install a radiation detection Portal Monitor to survey soils
that were being shipped from Hunters Point. The United States Navy required that Tetra Tech
EC, Inc. utilize a portal monitor for all vehicles, equipment, dirt and waste to go through when
entering and leaving the Hunters Point Naval Shipyard. The portal monitor had sensors that
could be set at varying levels of sensitivity to alert if a vehicle and its load was emitting gamma
radioactivity above the pre-set radiation Remediation Goals “contamination alert” action alarms.
The United States Navy established requirements for the scanning, testing, approval and
certification that standards and procedures had been met for any vehicle and its load containing
potentially radioactive materials to leave the Hunters Point Naval Shipyard. The United States
Navy set standards and procedures to be followed if a vehicle and its load were seeking to leave
the Hunters Point Naval Shipyard and the radiation detection portal monitor alarms activated if
gamma radioactivity levels exceeded the pre-set Remediation Goal levels. The portal monitor was
used to screen trucks with Survey Unit soil loads that were to be shipped off Hunters Point that
had been sampled in the field and tested in the laboratory and rated for free release below
Remediation Goal levels, but possessed some other form of contamination. Survey Unit soil that
was rated for free release below Remediation Goal levels that did not have other forms of
contamination was not to leave Hunters Point but was to be used as back-fill soil at Hunters Point,
and this soil back-fill soil was not processed through the portal monitor. The Survey Unit soil
that was processed through the portal monitor in 2010 and thereafter for off-site disposal
regularly alarmed the portal monitor due to gamma radioactivity levels exceeding the pre-set
Remediation Goal levels. Prior to 2010 and until late 2011, Survey soil that alarmed the portal
monitor was surveyed and remediated further, and required to be again screened and pass the
portal monitor screening. Survey Unit soils designed for free release and to be used as clean back
fill soil at Hunters Point were processed in exactly the same manner as the soils radiologically
free released for off-site disposal. Tetra Tech EC, Inc. knew or acted in deliberate ignorance that

Survey Unit soils Tetra Tech EC, Inc. tested and designated for free release back-fill at Hunters

-31-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 32 of 52

Point were not eligible for free release due to the presence of radioactive materials that exceeded
the Remediation Goal levels. The rejection by the portal monitor of similarly scanned, sampled
and tested soil designated for off-site disposal to the soil used for back-fill at Hunters Point that
was not screened through the portal monitor indicated that the certification and implied
certification that all soils used as back-fill at Hunters Point were below Remediation Goal levels
was not accurate. On information and belief it is alleged that management of Tetra Tech EC, Inc.,
including but not limited to Construction Manager Dennis Mc Wade knew beforehand if soils on
specific Survey Unit pads were eligible for use as backfill at Hunters Point with no radiological
screening through the portal monitor, or had to go through the portal monitor for off-site disposal
due to other contaminants, such as PCBs. It is alleged that management of Tetra Tech EC, Inc.
gave this information to RCT Jane Taylor and Marie Winder so that Survey Unit pad soils that
were free of other contaminants would be sampled to avoid the lab actually testing samples from
the highest levels of radioactive contamination located in the Survey Units to falsely have Survey
Unit soil designated for free release and backfill at Hunters Point.

53. Onamonthly basis, Tetra Tech EC, Inc. requested from the United States Navy
NAVFAC SW Division contract office a monthly progress payment, and set forth progress and
expenses incurred during that period. On a monthly basis, the RASO office of Radiological Site
Manager Laurie Lowman provided a recommendation to the contract office in response to the
Tetra Tech EC, Inc. request for monthly progress payments. Tetra Tech EC, Inc. expressly
certified and implied certification that the rules and regulations under the contract were complied
with, which included a duty to disclose all conduct that was not in conformity with the contract
and its rules and regulations. The failure of Tetra Tech EC, Inc. to disclose the lack of
qualifications of Jane Taylor, the failures of Jane Taylor, Marie Winder and the nonRCT laborers
they supervised to perform the surveys and sample taking of the Survey Unit soils, the failure to
disclose that similarly surveyed, sampled and tested Survey Unit soils cleared for free release as
having met the Remediation Goal standards regularly failed the portal monitor scanning, and the
certification and implied certification that all Survey Unit soils used as back-fill at Hunters Point

met the Remediation Goal standards was knowingly false and material in the monthly approval of

-32-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oOo eo ND Oo FP WY NO

NO NY WN WN WN NYO WN NO NO YF F FY FS KF Ee EO Ell eES|Sllc ee
eo ~ HD Un FB WwW NO | DO BO TF HAH DH vA FS WY NY | OS

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 33 of 52

progress payments to Tetra Tech EC, Inc. The conduct of Defendant Tetra Tech EC, Inc. violated
31 USC §3729(a)(1)(A) and (B).

54. | The United States Navy required that Tetra Tech EC, Inc. utilize a radiation
detection portal monitor for all vehicles, equipment, soil and waste to go through when entering
and leaving the Hunters Point Naval Shipyard. The United States Navy set procedural
requirements for the use of the radiation detection portal monitor for vehicles and equipment that
could proceed through the monitor to be cleared to leave Hunters Point. The United States Navy
established requirements for the scanning, testing, approval and certification that standards and
procedures had been met for any vehicle and its load containing potentially radioactive materials
to leave the Hunters Point Naval Shipyard. The United States Navy set standards and procedures
to be followed if a vehicle and its load were seeking to leave the Hunters Point Naval Shipyard
and the portal monitor alarms activated if gamma radioactivity levels exceeded the Remediation
Goal pre-set levels “contamination alert” action alarms. Tetra Tech EC, Inc. certified to the
United States Navy that all procedures and requirements related to the exit of trucks and
equipment from the Hunters Point Naval Shipyard were met when Tetra Tech EC, Inc. and its
management knew and had reason to know that the procedures and requirements established by
the United States Navy had not been met.

55. In December of 2010, Tetra Tech EC, Inc. had a shutdown period in which all
radiological remediation workers were given leave. The portal monitor was shut down and
packed away during the shutdown period. During the shutdown period, Tetra Tech EC, Inc.
arranged for and permitted two Baker Tanks loaded with chemical and liquid wastes from a
Radiologically Controlled Area, and a 40 yard roll off garbage bin containing metal debris that
had been involved in a fire at a Radiologically Controlled Area to be removed from Hunters Point
Naval Shipyard during the shutdown period. These vehicles and the loads were not processed
pursuant to the United States Navy's procedures and requirements, and were not subjected to
portal monitor screening, nor screening upon leaving the Hunters Point Shipyard by radiation
remediation RCT specialists contrary to the rules and directives under the contract with the

United States Navy. Management of Tetra Tech EC, Inc. was informed of the violation by a

- 33 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo SBS NH WD WN FBP WY HO —

NY NO NO NHN NY NY NO NY NO =| | Fe Fe Fe FeO EFS esl
ono sn) HD WF FF WH NY F|§ CFO CO BH ND DW A FSF HH NY | OC

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 34 of 52

manager of Tetra Tech EC, Inc., Radiation Safety Officer Representative Bert Bowers, related to
the processing and removal of the Baker Tanks and the 40 yard roll off garbage bin containing
metal debris, who urged notification of the United States Navy of the failure to follow protocol
and procedures, and was dismissed from working at Hunters Point Naval Shipyard shortly
thereafter. On information and belief it is alleged that Tetra Tech EC, Inc. did not disclose the
violation of procedures, protocols, and requirements imposed by the United States Navy
regarding the release of potentially radioactive materials from Hunters Point Naval Shipyard, and
the failure to screen all trucks and their loads through the portal monitor. On information and
belief it is alleged that Tetra Tech EC, Inc. falsely certified to the United States Navy that all
shipments leaving the Hunters Point Naval Shipyard had been properly screened, evaluated, and
approved for removal from the Hunters Point Naval Shipyard when that certification was
knowingly false and fraudulent. The information upon which this information and belief is based
on is that although Plaintiff Bowers continued employment with Tetra Tech EC, Inc. and contact
with United States Navy and RASO remained open, as well as reports made to United States
Nuclear Regulatory Commission, no disclosure by Tetra Tech EC, Inc. to RASO or the United
States Navy of these incidents were made. The failure to disclose the violation of the rules and
procedures under the contract by Tetra Tech EC, Inc. was part of a fraudulent scheme to not
disclose violations so that the requests for periodic progress payments to the contract
administration office of the United States Navy NAVFAC SW Division to authorize payment on
a monthly basis to Tetra Tech EC, Inc. would not be adversely impacted, although Tetra Tech
EC, Inc. had expressly undertaken an agreement to follow the portal monitor procedures and had
also expressly agreed to comply with the rules and regulations to inform the United States Navy
of any failures to comply with those rules and procedures. The fraudulent failure of Defendant
Tetra Tech EC, Inc. to disclose the violations of the contract was material to the payment of the
monthly payment and the amount of the payment to Tetra Tech EC, Inc. The conduct of
Defendant Tetra Tech EC, Inc. violated 31 USC §3729(a)(1)(A) and (B).

56. | Management of Tetra Tech EC, Inc. took knowing actions to defeat the purpose

and effect of the protocols and procedures required by the United States Navy pertaining to the
- 34-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO Oe NN NHN OO YD NO

Bw bho WN PO KH KR HN RD Rm mmm me meee
ao SN DO WO Sf WD NY | 3D OBO Se HN DO TH FF WY] NO KF OC

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 35 of 52

radiation detection portal monitor to cut costs and increase profits despite these actions resulting
and potentially resulting in the uncontrolled release of radioactive contaminated materials above
the Remediation Goals established by the United States Navy being released from Hunters Point
and into the public arena. The rules, regulations and protocols for the use and standards of the
portal monitor were established and set forth in the Multi-Agency Radiation Survey and Site
Investigation Manual. The procedures required that when a vehicle and its load of soil and debris
were Cleared by radiation surveys to leave Hunters Point, the truck and load had to first
successfully pass through the radiation detection portal monitor.

57. The protocol and procedures for successfully passing the radiation detection portal
monitor required a truck to slowly pass between the portal monitor radiation detection sensors. If
the truck did not alarm the portal monitor radiation sensors, the truck and its load were permitted
to leave Hunters Point. If the truck and its load failed the first pass through the portal monitor the
truck was required to re-enter the portal monitor and if the truck failed the portal monitor scan
two out of three passes, the truck and its load were deemed to have failed the portal monitor
scanning and were not permitted to leave Hunters Point with the load of scanned soil and debris.

58. | When a truck and its load of soil and debris were deemed to have failed the
radiation detection portal monitor scan, the truck was directed to an area where scaffolding was
set up. The scaffolding were erected to permit tarps to be placed over truck beds that passed the
portal monitor scanning, and to also allow for detailed manual scanning of the soil and debris
following a portal monitor scan failure of a truckload. When a truckload had failed the portal
monitor scanning, two RCT radiation remediation safety specialists were assigned to scan the soil
and debris contents of the truck trailer bed to find the radioactive material that alarmed the portal
monitor. The RCT specialists used hand held gamma radiation screening devices to scan the
under carriage, back, and sides of the truck trailer bed, and then mounted the scaffolding and
crossed the top of the bed of the un-tarped truck trailer directly over the soil and debris without
the metal siding or bed shielding the radioactive material. Special attention was given to areas of
the truck bed where the portal monitor report indicated elevated radioactivity levels above the

Remediation Goal. The scanning from the top over the truck bed directly over the soil and debris

-35-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 36 of 52

without the shielding from the metal trailer body was the most effective means of locating the
radioactive materials in the truck trailer. When the radioactive material that triggered the portal
monitor was located, the RCT specialists completed a truck survey that identified the radioactive
materials, and the survey report included detailed information of the radioactive readings obtained
from the radioactive sources located that exceeded the Remediation Goal levels. The truck with
the load of soil and debris that failed the portal monitor scanning was then directed to a Survey
Unit screening pad and directed to dump the soil and debris onto the pad. The soil was then
reprocessed for screening, remediation, and sampling by RCT specialists. If the RCT specialists
when scanning the truck trailer soil and debris were unable to locate by hand held scanning the
specific sources of radioactivity that triggered the portal monitor alarm the soil was also directed
to a Survey Unit screening pad, dumped, and reprocessed for screening, remediation, and
sampling. For all rejected soils, when the soil was dumped onto the screening pads, the soil was
smoothed out to about a 6 inch uniform depth and scanned until the radioactive materials that
registered above the Remediation Goal levels were located and removed. Once the radioactive
materials were located and removed, the Survey Unit pad was again processed for sampling of the
18 highest radioactive locations pursuant to the towed array GPS report. The 18 samples taken
were tested by the on-site laboratory and once again an evaluation was made whether the Survey
Unit soil met the Remediation Goal for free release to leave Hunters Point.

59. Onor about September 2011, Defendant Tetra Tech EC, Inc. significantly changed
and weakened the procedures for use of the radiation detection portal monitor and the procedures
and standards for review of a truck with a load of soil and debris that failed the portal monitor
screening. On information and belief it is alleged that although some of the changes implemented
by Defendant Tetra Tech EC, Inc. were discussed and disclosed to the United States Navy RASO
office, critical details and procedures that significantly weakened the effectiveness of the portal
monitor were fraudulently withheld from the United States Navy and United States agencies such
as the Environmental Protection Agency, Nuclear Regulatory Commission, and State of
California regulators. On information and belief it is alleged that Defendant Tetra Tech EC, Inc.

conspired with individuals, including but not limited to Navy RASO Radiological Site Manager
- 36-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 37 of 52

Laurie Lowman, who due to her conflict of interest did not object but assisted Defendant Tetra
Tech EC, Inc. in the effort to fraudulently hide from the United States Navy and the involved
regulators the extent in which the weakening of the portal monitor procedures and standards, and
the weakening of the post-portal monitor procedures and standards allowed hazardous radioactive
materials above the Remediation Goals to be free released.

60. For years prior to September 2011, the portal monitor pre-set sensitivity level was
set at 3 sigma plus mean background levels, which corresponded to the Remediation Goals set by
MARSIMM and required by rule and regulation under the contract. In 2011, due to the
fraudulently defective surveys, remediation, and sampling of Survey Unit soils by Jane Taylor,
Marie Winder and the non-RCT laborers under their supervision, as well as remediation of an
increased number of sewer lines contaminated with radioactivity being processed by Tetra Tech
EC, Inc., trucks containing Survey Unit soils sampled, tested and given free release clearance
increasingly failed to pass the portal monitor screening. The failures to pass the portal monitor
screening resulted in increased labor costs, laboratory testing costs, stockpiling costs, and delays
for Tetra Tech EC, Inc. that adversely impacted payments to Tetra Tech EC, Inc. by the United
States Navy and adversely affected the net profits to Tetra Tech EC, Inc. and Tetra Tech Inc.
Tetra Tech EC, Inc. management utilized the conflict of interests it had established with RASO
Radiological Site Manager Lorie Lowman to pressure Ms. Lowman to assist and not object to
Tetra Tech EC, Inc. significantly weakening the portal monitor testing which had been
established by multi-agency agreement through the MARSIMM. Tetra Tech EC, Inc. failed to
disclose to the United States Navy that a reason for the increased portal monitor failure rates of
the truck loads screened was due to the assignment of Jane Taylor and Marie Winder to conduct
the survey and sampling in a manner to intentionally obtain free release of soils that did not meet
the remediation goals as part of Tetra Tech EC, Inc. management’s efforts to fraudulently
increase profit levels. On or about September of 2011, Tetra Tech EC, Inc. relaxed the portal
monitor sensitivity by a factor of 2.5 from 3 sigma plus mean background to a level of 8 sigma
plus mean background before the truck load would fail the portal monitor screening. On

information and belief it is alleged that this significant weakening of approximately 2 and % times

-37-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo Ce JN DNDN AWA FP WD NO

to NO NO NHN WH LO NH bO NO FH HF HF FF FOF SOO etl ere le
ao ny Dn DN FF WD NY |§ OF OO CO I DBD An FR WO NYO HH OB

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 38 of 52

less sensitivity of the portal monitor screening standard was not approved by the MARSIMM nor
authorized by agencies vested with oversight responsibilities and authority under the procedures
and regulations involved with the contract between Tetra Tech EC, Inc. and the United States
Navy. On information and belief it is alleged that any consent or failure to object by agencies
involved in the oversight of the radioactivity remediation of Hunters Point was obtained due to
fraud and the conflict of interest created and taken advantage of by Tetra Tech EC, Inc. with
RASO’s Laurie Lowman.

61. Tetra Tech EC, Inc. further weakened the portal monitor screening and procedures
on or about September 2011. For years prior to September 2011, the rules, regulations,
procedures and practices required under the contract with the United States Navy required that all
truckloads of soil and debris that failed the portal monitor screening were to be hand surveyed by
two RCT specialists, with a detailed hand scanning including scanning over the top of the truck
bed directly over the soil and debris without the metal of the truck trailer shielding the radioactive
materials from the scanning. Further, the emphasis for the two RCT specialists was to find the
radioactive material that had triggered the portal monitor alarm. The great majority of post portal
monitor failure hand scans did locate radioactive materials that were above the remediation goal
release levels and which should have caused the portal monitor radioactivity sensors to be
alarmed. The RCT specialists and management of Tetra Tech EC, Inc. knew from experience
over the years of hand scanning the truck loads of soil and debris that failed the portal monitor
that the hand scanning directly over the soil from the top while the RCT specialists were on the
scaffolding was the most effective scanning for radioactive materials that exceeded the
Remediation Goals that would have caused the portal monitor alarms to be activated because the
metal sides of the truck trailer body significantly shielded the radioactivity when scanning from
the back, sides and under carriage from ground level. Beginning in September of 2011, Tetra
Tech EC, Inc. fundamentally changed and weakened the scanning procedures and standards for a
truck load of soil and debris that had failed the now less sensitive by a factor of 2 and % times
portal monitor scanning process. Beginning in September of 2011, Tetra Tech EC, Inc. directed

that one, not two RCT specialists, was to scan the truck trailer following a failure of the portal

- 38 -

COMPLAINT

SCOTT LAW FIRM
1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo S&F NO OD FP WD YN

NO NO NO NPN WN NO NN BR RO mw mee ee ee
oa XN Hn A FF WD NY KY DBD OO Oo I DH vA FB WO HNO KH CO

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 39 of 52

monitor scanning. The RCT was directed to no longer utilize the scaffolding and was directed to
no longer perform a scan from the top of the trailer directly over the soil and debris. The RCT
specialist was directed that hand held sensor scanning was to only be done with the RCT
specialist standing on the ground and only scanning through the metal truck bed. The RCT
specialist was also directed that no longer was the objective to find the radioactive material that
triggered the portal monitor, but rather to perform the scan. Under the new weakened standards,
the RCT specialist was directed that if the hand held scanning of the sides and bottom of the
metal truck trailer body did not register radiation levels above 10,000 cpm then the truck with its
load of soil and debris that set off the portal monitor alarm was to be free released into the public
arena. At no time prior to September 2011 was a truck that failed the portal monitor screening
process permitted to leave with the load intact without remediation that had failed the portal
monitor. Prior to September of 2011, all soil and debris loads that failed the portal monitor
screening process were required after hand scanning by two RCT specialists for the load to be
dumped on a pad and efforts were taken to find and remove the radioactive materials that caused
the portal monitor alarms to be activated. Prior to September of 2011, the RCT specialist hand
scanning procedures of the soils in the truck and on the pad following a portal monitor failure
consistently found radioactive materials that exceeded the Remediation Goal levels. Management
of Tetra Tech EC, Inc. determined that the scanning and remediation of soils following a portal
monitor failure as required by MARSIMM and the rules, regulations and protocols under the
contract was a step that Tetra Tech EC, Inc. desired to minimize due to the adverse impact this
process had upon the profit levels desired by Tetra Tech EC, Inc. Tetra Tech EC, Inc.
management utilized the conflict of interests it had established with RASO Radiological Site
Manager Lorie Lowman to pressure Ms. Lowman to assist and not object to Tetra Tech EC, Inc.
significantly weakening the post portal monitor failure hand scanning by RCT specialists and
allowing for the free release of soils and debris that had failed the portal monitor scanning under
the weakened portal monitor sensitively levels without any radioactive remediation contrary to
the rules, procedures, and protocols that had been established by multi-agency agreement through

the MARSIMM that were required to be followed under the contract. On information and belief
-39-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo fF ND OH S&S WY] HY

N NO NO NO HN BK NO NO NO mmm ee
an nN DWN UA F&F WD NY —|§ DT OO DBD NA DB UA S&F WY NYO | OS

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 40 of 52

it is alleged that this significant weakening and the fundamental changes to the RCT hand
scanning of loads that failed the portal monitor scan and the free release of the soil and debris
without remediation that had failed the portal monitor screening was not approved by the
MARSIMM and all agencies required under the procedures and regulations involved with the
contract between Tetra Tech EC, Inc. and the United States Navy. On information and belief it is
alleged that any consent or failure to object by agencies involved in the oversight of the
radioactivity remediation of Hunters Point to the changes in procedures, standards and objectives
of the RCT specialist hand scans and allowing the free release of the soils and debris that had
failed the portal monitor scanning without further radiation remediation was obtained due to fraud
and the conflict of interest created and taken advantage of by Tetra Tech EC, Inc. with RASO’s
Laurie Lowman. The fraudulent failure of Defendant Tetra Tech EC, Inc. to disclose the
violations of the contract related to the portal monitor, hand scanning of failed radiation detection
portal monitor loads, and the free release of failed loads was material to the payment of the
monthly payment and the amount of the payment to Tetra Tech EC, Inc, The conduct of
Defendant Tetra Tech EC, Inc. violated 31 USC §3729(a)(1)(A) and (B).

62. Defendant Tetra Tech EC, Inc. knowingly made and caused to be made and used
false records material to monthly claims for payment to the United States Navy NAVFAC SW
Division Contract Office that certified or implied certification that all equipment leaving Hunters
Point Naval Shipyard had been scanned for radioactivity pursuant to specific rules, procedures
and protocols and were only released with radioactivity below levels specified by the rules,
procedures and regulations under the contract with the United States Navy. Defendant Tetra Tech
EC, Inc. management knew and had reason to know that equipment that was allowed to leave
Hunters Point Shipyard had radioactive levels above the standards established by the rules,
procedures and regulations required under the contract with the United States Navy.

Management of Tetra Tech EC, Inc. established a culture at Hunters Point Shipyard that RCT
specialists were encouraged and threatened to not find radioactivity above the levels for free
release of equipment. Construction Superintendent Dennis Mc Wade berated and threatened RCT

specialists who properly conducted radiological survey scans to perform the scans at a rate faster

- 40 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo es nN DN UH FF WD NO —

NO NYO NN NV WN VN NNO KN NO ee mr Oe eel le
ao sn NHN UO SF WY NY |! ODO Oo Se SN DO OH FSF WY NYO - S&S

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 41 of 52

than the equipment was designed to perform. Construction Superintendent Dennis Mc Wade
directed that RCT specialists destroy records of radiation surveys that had results above the
release levels. Construction Superintendent Dennis McWade directed that laboratory results of
samples and smears taken to test the radioactivity levels be destroyed and removed from the
computer system that had results over the free release levels. For example, rented fencing was
used at Hunters Point in an area with radioactive materials and was designated a Radiologically
Controlled Area. After the rental fencing was used in the Radiologically Controlled Area for
months, Tetra Tech EC, Inc. sought to return the rented fencing. Prior to the fencing being
returned, the rules, regulations and procedures under the contract required that an RCT specialist
perform a radiological survey of the fencing and take fixed readings and smears from the fencing
to establish that the fencing did not have radioactive materials on it that exceeded the radioactive
free release levels established. Plaintiff RCT specialist Susan Andrews performed fixed readings
and took smears from the fencing that had radioactive readings above release levels.
Management of Tetra Tech EC, Inc. threatened Plaintiff Andrews with termination of
employment due to her diligence in performing the fixed readings and taking smears that she
submitted to the laboratory for analysis of the rental fencing. Management of Tetra Tech EC, Inc.
did not want the rental fencing survey to have levels above free release readings due to the time
and costs associated with the efforts that would be needed to remove and remediate the fencing so
that it could be free released, or dispose of the fencing as radioactively contaminated material.
Tetra Tech EC, Inc. management challenged the results Plaintiff Andrews obtained, and initially
attacked her competence and manner of testing. Plaintiff Andrews demonstrated her knowledge
of the testing equipment and that the detector readings she properly obtained were above release
limits. Management of Tetra Tech EC, Inc. continued to try to invalidate the results by asserting
that the detector used must have been miscalibrated or broken. Plaintiff Andrews resisted the
efforts to invalidate the testing results she believed were valid. Plaintiff Andrews took like
detectors that other RCT specialists had been using, scanned the fencing and again obtained
radioactive results above release levels. The Tetra Tech EC, Inc. Construction Superintendent

Dennis Mc Wade became very mad at Plaintiff Andrews due to her diligence and that the results
-4]-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 42 of 52

she was obtaining would result in delay and greater costs to Tetra Tech EC, Inc. in the handling
and processing of the fencing. Plaintiff Andrews turned in the hand held surveys of fixed
radioactive contamination to Tetra Tech EC, Inc. and submitted smears taken from the fencing to
the Tetra Tech EC, Inc. laboratory for radioactive analysis. The fixed radioactive survey readings
and the laboratory analysis of the smears submitted would not have permitted the fencing to be
free released. Tetra Tech EC, Inc. management and the management of New World
Environmental, Inc. directed Plaintiff Andrews to destroy the hand held surveys reports of the
fixed radioactive contamination that had results above free release levels. Tetra Tech EC, Inc.
management and management of New World Environmental, Inc. directed that the computer files
be deleted that contained any information of these survey results as well as the laboratory results
from the smears taken from the fencing. The destruction of the hand held survey reports, and the
destruction of the laboratory results was done so that Tetra Tech EC, Inc. could fraudulently
certify and imply that the fencing had not had survey readings and laboratory results above
releasable limits. The fencing was released without removal of the radioactive materials that had
caused the radioactive survey results above free release levels. Defendant Tetra Tech EC, Inc.
falsely certified and implied certification that all materials and equipment leaving Hunters Point
Naval Shipyard Radiologically Controlled Areas had been properly surveyed for radioactive
contamination and had not been allowed to leave Hunters Point with radioactive contamination
levels above established free release levels contrary to the rules, regulations, and protocols
required by MARSIMM and the contract between the United States Navy and Tetra Tech EC,
Inc. Defendant New World Environmental, Inc. and Defendant Tetra Tech EC, Inc. engaged in a
conspiracy to defraud the United States Navy by conspiring to deter RCT employees from
following the rules, regulations, and procedures for proper and effective radiological testing and
surveys, and by falsifying and destroying records material to the contract and to the payment
under the contract with the United States Navy. The fraudulent scheme to deter RCT employees
from following the rules, regulations, and procedures for proper and effective radiological testing
and surveys, and by falsifying and destroying records had a material effect in causing the contract

administration office of the United States Navy NAVFAC SW Division to authorize payment on
-42-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

So Ce SI WB A FP WH YN —

NM wo NO NHN HN NH YN HN NO HF FF HF KF Fe EO Ee eee
oo NY DBD A FSF WD NY | DOD Oo S&S NI WB A FF WHO NO | OD

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 43 of 52

a monthly basis to Tetra Tech EC, Inc. for the invoices billed by New World Environmental, Inc.
and the monthly progress payments to Tetra Tech EC, Inc. The conduct of Defendant New
World Environmental, Inc. and Tetra Tech EC, Inc. violated 31 USC §3729(a)(1)(A), (B) and
(C).

63. Relators, on behalf of the United States of America and the United States Navy
seek through this action 3 times damages, a civil penalty, prejudgment interest, attorney fees and

costs as provided for by 31 USC §3729(a)(1)(3) and §3730.

FACTS AND CLAIM FOR RETALIATORY ACTIONS UNDER §3730 (h)

64. Plaintiffs incorporate by reference each of the preceding paragraphs as though
herein fully set forth.

65. Plaintiff Jahr was a direct employee of Defendants NEW WORLD
ENVIRONMENTAL, INC. dba NEW WORLD TECHNOLOGY, INC., and was contracted to

work for and performed services for Tetra Tech EC, Inc. and Tetra Tech, Inc.. Defendants Tetra
Tech EC, Inc. and Tetra Tech, Inc. exerted extensive control and authority over the employment
of Plaintiff Jahr so as to be joint employers of Plaintiff Jahr. Defendant Tetra Tech EC, Inc. and
Tetra Tech, Inc. directed Defendant NEW WORLD ENVIRONMENTAL, INC. to terminate
Plaintiff Jahr due to the report Plaintiff Jahr made to a supervisor of Defendant Tetra Tech EC,
Inc. on August 19, 2010. Plaintiff Jahr was interviewed on August 20, 2010 by management of
Defendant New World Environmental, Inc. regarding the report Plaintiff Jahr made and fired
Plaintiff Jahr on August 20, 2010.

66. On August 19, 2010 Plaintiff Art Jahr made a report to supervisors of Tetra Tech
EC, Inc., that reported and complained that other sub-contractor employees of New World
Environmental, Inc. were engaged in improper and unsafe work practices related to radioactive
remediation clean up, that one of the New World Environmental, Inc. employees performing
supervisory services, Jane Taylor, was knowingly hired and sent to work for Tetra Tech, EC, Inc.
by New World Environmental, Inc. based on a false resumé and Ms. Taylor did not have the
extensive radiological remediation background listed on her false resumé, and that unskilled non-

RCT laborers were performing radioactive remediation services in an unsafe and improper
- 43 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oO Oo SN DWH AW FF YD HO —

NO wo NO WY NH WH WN HO HNO —&—& &— = Se ee ee ee ee
Co SN ON FF WD NY —|§ DOD OO OH SI DB nA FSF WD NYO S| OD

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 44 of 52

manner under the direction of Ms. Taylor. Plaintiff Jahr stated to the supervisor of Tetra Tech
EC, Inc. that the hire and use of Jane Taylor with a fraudulent resumé was a fraud upon the
government and that if the government found out about this fraud that the Navy and the NRC
would shut the Tetra Tech EC, Inc. Hunters Point project down due to the fraud. Plaintiff Jahr
tried to impress the importance of Tetra Tech EC, Inc. stopping the fraud upon the United States
Navy based on his report or Plaintiff Jahr would consider making the report to the government.
Management staff of Tetra Tech EC, Inc. and New World Environmental, Inc. both were aware,
and had been aware for years, that Ms. Taylor's resumé and qualifications were false and did not
qualify her to work on the Hunters Point remediation project. On information and belief it is
alleged that Ms. Taylor had been and was involved in sexual and romantic relationships with
individuals in management of Tetra Tech EC, Inc. and New World Environmental, Inc. and that
Ms. Taylor was employed and remained employed in part due to favoritism as a result of her
sexual relationships with individuals in management.

67. | Management of Tetra Tech EC, Inc., with the supervision and support of Tetra
Tech, Inc. directed New World Environmental, Inc. to terminate Plaintiff Jahr due to his report
that the use of Jane Taylor was a fraud upon the United States Navy, and that unsafe and
improper radiation remediation work was being done and supervised by an unqualified individual
in Ms. Taylor, and that the laborers performing the work were improperly performing the work
and that there were risks of health and safety to the workers as well as the public and the
environment. New World Environmental, Inc. management made the decision to terminate the
employment of Plaintiff Jahr, despite being aware that Plaintiff Jahr had made a good faith report
of fraud upon the United States Navy as well as of health and safety violations, involving the
radiation remediation of the Hunters Point Shipyard, due to the insistence of Tetra Tech EC, Inc.
management that Plaintiff Jahr be fired due to his report to a supervisor of Tetra Tech EC, Inc.
that the company was engaged in defrauding the United States Navy.

68. The termination of Plaintiff Jahr on August 20, 2010 is a violation of 31 USC
§3730 (h) due to his efforts to stop 1 or more violations of the False Claims Act and his actions in

furtherance of an action under this section. Plaintiff Jahr as a Senior RCT specialist had no role

-44-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

oo 6& JN NH OW FF WD NO

NO bw NO NO NHN KN NO RO RO wm ee ee ee
oo NSN DN AO BP WY NHN |K§ Do Oo SBS IN BDO A BP WY NYO &§ OCS

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 45 of 52

or responsibility in fraud detection, investigation or reporting, and as such was not a fraud alert
employee. Plaintiff Jahr’s report to the supervisors of Tetra Tech EC, Inc. and New World
Environment, Inc. expressed concern to these employers that that there was a likelihood that there
was fraud against the government in the hire, and use of Jane Taylor as well as fraud in the
manner in which Jane Taylor and those she supervised performed the work functions on behalf of
the United States Navy contrary to the terms and conditions of the contract with the United States
Navy.

69. Plaintiff Bowers at relevant times was a direct employee of Tetra Tech EC, Inc.
and Tetra Tech, Inc., and was the Radiological Safety Officer Representative responsible for
radiological remediation being performed under the Tetra Tech EC, Inc. and Tetra Tech, Inc.
Nuclear Regulatory Commission license at the Hunters Point Shipyard in a safe and effective
manner, in compliance with regulations and rules from the Nuclear Regulatory Commission, and
under the rules and regulations imposed by the United States Navy pursuant to the contract
between the United States Navy and Tetra Tech EC, Inc. Plaintiff Bowers worked under the
direction of off-site Radiological Safety Officer Erik Abkemeier.

70. During Bowers’ employment with Defendants Tetra Tech EC, Inc., Bowers raised
numerous reports of health and safety violations of the United States Navy rules and regulations
including issues with radiological compliance. Defendants’ management grew progressively
more resistant in 2010 to compliance with following the United States Navy rules, regulations and
protocols that resulted in decreased profits. In late December of 2010, Tetra Tech EC, Inc. had a
shutdown period over the holidays in which all radiological remediation workers were given
leave. The portal monitor was shut down and packed away during the shutdown period. During
the shutdown period, without Plaintiff Bowers’ knowledge, Tetra Tech EC, Inc. arranged for and
permitted two Baker Tanks loaded with chemical and liquid wastes from a Radiologically
Controlled Area, and a 40 yard roll off garbage bin containing metal debris that had been
involved in an earlier fire at a Radiologically Controlled Area to be removed from Hunters Point
Naval Shipyard during the shutdown period. These vehicles and the loads were not processed

pursuant to the United States Navy procedures and requirements, and were not subjected to portal

- 45.

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 46 of 52

monitor screening, nor screening upon leaving the Hunters Point Shipyard by RCT radiation
remediation safety and oversight specialists contrary to the rules and directives under the contract
with the United States Navy. Management of Tetra Tech EC, Inc. was informed of the violation
by Radiation Safety Office Representative Bert Bowers related to the processing and removal of
the Baker Tanks and the 40 yard roll off garbage bin containing metal debris. Plaintiff Bowers
urged Tetra Tech EC, Inc. to notify the United States Navy Radiological Affairs Support Office
of the failure to follow protocol and procedures regarding the Baker Tanks and the 40 yard metal
debris box, by contact with his supervisor Radiological Safety Officer Erik Abkemeier and other
management of Tetra Tech EC, Inc. On information and belief it is alleged that Tetra Tech EC,
Inc. did not disclose the violation of procedures, protocols, and requirements imposed by the
United States Navy regarding the release of potentially radioactive materials from Hunters Point
Naval Shipyard, and the failure to screen all trucks and their loads through the portal monitor. On
information and belief it is alleged that Tetra Tech EC, Inc. falsely certified and implied
certification to the United States Navy that both shipments leaving the Hunters Point Naval
Shipyard had been properly screened, evaluated, and approved for removal from the Hunters
Point Naval Shipyard when that certification was knowingly false and fraudulent. The
information upon which this information and belief is based is that although Plaintiff Bowers
continued employment with Tetra Tech EC, Inc. and contact with United States Navy and RASO
remained open, as well as reports made to United States Nuclear Regulatory Commission offices,
no disclosure by Tetra Tech EC, Inc. to RASO or the United States Navy of these incidents was
made. The failure to disclose the violation of the rules and procedures under the contract by Tetra
Tech EC, Inc. was part of a fraudulent scheme to not disclose violations so that the requests for
periodic progress payments to the contract administration office of the United States Navy
NAVFAC SW Division to authorize payment on a monthly basis to Tetra Tech EC, Inc. would
not be adversely impacted, although Tetra Tech Ec. Inc. had expressly undertaken an agreement
to follow the portal monitor procedures and had also expressly agreed to comply with the rules.
and regulations to inform the United States Navy of any failures to comply with those rules and

procedures.

- 46 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo Oo YN DN Wn FP WOW NO

NO NO NO NO NH KN KN NO RO mm lt
ao NNO UH Fk Wo NY KK FS CO OO HN DWH HH BRP WO NYO KF OC

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 47 of 52

71. Onor about late December of 2010 during the Hunters Point shut down period,
rain caused flooding of Radiologically Controlled Areas of Hunters Point. Tetra Tech EC, Inc.
did not control the flooding in the Radiologically Controlled Areas during the shutdown period,
and potentially radioactive contaminated flood waters flowed into San Francisco Bay. Plaintiff
Bowers reported the flooding of the Radiologically Controlled Areas to management of Hunters
Point as required by protocol so that Tetra Tech EC, Inc. management could report to the Navy
RASO offices the uncontrolled release of potentially radioactive contaminated flood waters from
Radiologically Controlled Areas of Hunters Point into San Francisco Bay. On information and
belief it is alleged that Tetra Tech EC, Inc. did not disclose the uncontrolled release of potentially
radioactive contaminated flood waters into San Francisco Bay to RASO in violation of
procedures, protocols, and reporting requirements imposed by the United States Navy. On
information and belief it is alleged that Tetra Tech EC, Inc. falsely certified and implied
certification to the United States Navy that all liquid, including rain water, was properly
controlled from Radiologically Controlled Areas and not allowed to flow into San Francisco Bay.
The information upon which this information and belief is based is that although Plaintiff Bowers
continued employment with Tetra Tech EC, Inc. and contact with United States Navy and RASO
remained open, as well as reports made to United States Nuclear Regulatory Commission offices,
no disclosure by Tetra Tech EC, Inc. to RASO or the United States Navy of the uncontrolled
flooding of Radiologically Controlled Areas in December of 2010 was made. The failure to
disclose the uncontrolled flooding was a violation of the rules and procedures under the contract
by Tetra Tech EC, Inc. was part of a fraudulent scheme to not disclose violations so that the
requests for periodic progress payments to the contract administration office of the United States
Navy NAVFAC SW Division to authorize payment on a monthly basis to Tetra Tech EC, Inc.
would not be adversely impacted, although Tetra Tech Ec. Inc. had expressly undertaken an
agreement to control all liquids in Radiologically Controlled Areas and to report and uncontrolled
and unapproved release of water from such areas into San Francisco Bay.

72. Onor about January 12-13, 2011 Bowers reported to management of Tetra Tech

EC, Inc. and Tetra Tech, Inc., conduct that Bowers reasonably and in good faith believed was

-47-

COMPLAINT

SCOTT LAW FIRM
1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Oo fF NN DH UW SF WY YP =

NY NPN NO NO WN KO KO KR NOR mR RO RP FF EO OO eS ele
oN NHN OO Se YD) NY FH CO OBO BO SN DWH A F&F WY NY | OS

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 48 of 52

contrary to the rules and regulations imposed by the contract between Tetra Tech EC, Inc. and the
United States Navy regarding access to radiologically controlled areas at Hunters Point.
Management of Tetra Tech EC, Inc. and Tetra Tech, Inc. disputed Bowers conclusions. Bowers
advised management of Tetra Tech EC, Inc. and Tetra Tech, Inc. that he would have to report the
conduct that Bowers believed violated rules, regulations, and the contract to the United States
Navy and to the Nuclear Regulatory Commission. Upon advising Tetra Tech EC, Inc. and Tetra
Tech, Inc. that Bowers would report the conduct to the United States government, Defendants
Tetra Tech EC, Inc. and Tetra Tech, Inc., discriminated against Plaintiff Bowers and subjected
Bowers to adverse actions. Defendants Tetra Tech EC, Inc. and Tetra Tech, Inc. initially
subjected Bowers to adverse employment action by transferring Bowers to the Alameda Naval
Station remediation project in a demoted position. Less than two months thereafter, Tetra Tech
EC, Inc. and Tetra Tech, Inc. subjected Bowers to further adverse employment action by
removing Bowers from active employment as of April 1, 2011.

73. | Upon removing Bowers from active employment as of April 1, 2011, Defendants
Tetra Tech EC, Inc. and Tetra Tech, Inc. stated and committed to Plaintiff Bowers that he would
be assigned to radiological positions that become available. On or about May 17, 2011, Plaintiff
Bowers appeared before a government agency as a supporter and witness in support of Plaintiff
Jahr’s report that Tetra Tech EC, Inc. engaged in fraud in the hire and use of Jane Taylor contrary
to the rules and regulations of the United States Navy. The hearing was conducted by the
California Retaliation Unit of the California Labor Commissioner’s office. Plaintiff Bowers had
also during that time met with investigators for the United States Nuclear Regulatory Commission
which was disclosed and known to Tetra Tech EC, Inc. Due to Bowers' objections to Tetra Tech
EC, Inc. and later reporting to the federal government his good faith belief that the conduct of
Defendants violated the rules and regulations imposed by the contract with the United States
Navy, and Bowers' support of the complaint by Plaintiff Jahr that Tetra Tech EC, Inc. was
defrauding the United States Navy by using Jane Taylor as a Senior RCT, Defendants Tetra Tech
EC, Inc. and Tetra Tech, Inc. failed and refused to select Bowers for open and available

radiological positions, including positions that reported to his prior supervisor Radiological

- 48 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 49 of 52

Safety Officer Erik Abkemeier thereafter as adverse employment actions. The conduct of
Defendant Tetra Tech EC, Inc. and Tetra Tech Inc. are retaliatory actions against Plaintiff Bowers
in violation of 31 USC §3730(h).

74. Plaintiff Andrews at all relevant times was a direct employee of ALEUT WORLD
SOLUTIONS, who was contracted to work for and performed services for Tetra Tech EC, Inc.
and Tetra Tech, Inc. Defendants Tetra Tech EC, Inc. and Tetra Tech, Inc. directed that
Defendants ALEUT WORLD SOLUTIONS terminate Plaintiff Andrews following Andrews’
reports to Tetra Tech EC, Inc. and Tetra Tech, Inc., supervisory staff of the unsafe, hazardous,
and improper practices relating to remediation of hazardous waste, including radioactive material,
that were in violation of the rules and procedures pursuant to the contract between the United
States Navy and Tetra Tech EC, Inc., and upon Andrews meeting with and supporting the report
of fraud by Tetra Tech EC, Inc. made by Plaintiff Art Jahr and supported and added to by
Plaintiff Bert Bowers to investigators of the United States Nuclear Regulatory Commission, and
the California Department of Labor. Andrews was subjected to adverse action of termination on
December 16, 2011 by Defendant ALEUT WORLD SOLUTIONS at the direction of Tetra Tech
EC, Inc. and Tetra Tech, Inc. due to her protected conduct of reporting to government agencies
and supporting before those government agencies the reports made by Plaintiff Jahr and Plaintiff
Bowers that could reasonably lead to a False Claims action and their efforts to stop one or more
violations of the False Claims Act, and due to her reports to Tetra Tech EC, Inc. in an effort to
stop one or more violations of the False Claims Act. On information and belief, it is alleged that
Tetra Tech EC, Inc. and Tetra Tech, Inc. have failed and refused to permit the hire and use of
Plaintiff Andrews by Radiological Survey & Remediation Services, LLC and by The Shaw
Group, Inc. as an RCT at Hunters Point Shipyard under their sub-contracts with Defendants Tetra
Tech EC, Inc. and Tetra Tech, Inc., and other locations as further adverse employment retaliation
despite her qualifications due to Andrews protected activity. The conduct of Defendant Tetra
Tech EC, Inc. and Tetra Tech Inc. are retaliatory actions against Plaintiff Andrews in violation of

31 USC §3730(h).

- 49 -

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 50 of 52

75. Plaintiff Jackson at all relevant times was a direct employee of ALEUT WORLD
SOLUTIONS, who was contracted to work for and performed services for Tetra Tech EC, Inc.
and Tetra Tech, Inc.. Defendants Tetra Tech EC, Inc. and Tetra Tech, Inc. directed that
Defendants ALEUT WORLD SOLUTIONS terminate Plaintiff Jackson following Jackson’s
reports to Tetra Tech EC, Inc. and Tetra Tech, Inc. supervisory staff, and the supervisory staff of
the subcontractors of these Defendants, that the employment and use of Jane Taylor was a fraud
and was a violation of rules with the Navy contract, and that Tetra Tech EC, Inc. engaged in
unsafe, hazardous, and improper practices relating to remediation of hazardous waste, including
radioactive material, that was contrary to the rules and procedures established under the contract
with the United States Navy. Jackson was subjected to the adverse action of termination on
December 16, 2011 by Defendant ALEUT WORLD SOLUTIONS at the direction of Tetra Tech
EC, Inc. and Tetra Tech, Inc. due to his protected conduct of reporting fraud against the United
States Navy, and reporting the unsafe, hazardous, and improper practices relating to remediation
of hazardous materials, including radioactive material contrary to the rules and regulations related
to the contract between the United States Navy and Tetra Tech EC, Inc. On information and
belief, it is alleged that Tetra Tech EC, Inc. and Tetra Tech, Inc. have failed and refused to permit
the hire and use of Plaintiff Jackson by Radiological Survey & Remediation Services, LLC and
by The Shaw Group, Inc. as an RCT at Hunters Point Shipyard and other locations under their
sub-contracts with Defendants Tetra Tech EC, Inc. and Tetra Tech, Inc., as further adverse
employment retaliation despite his qualifications due to Jackson's protected activity of reporting
and disclosing information to government agencies the unsafe, hazardous, and improper practices
relating to remediation of hazardous waste, including radioactive material by Tetra Tech EC, Inc.,
and Tetra Tech, Inc., and their subcontractors, that violate the rules and procedures under the
contract with the Navy, and due to his acting as a supporting witness for Plaintiff Jahr and
Plaintiff Bowers in actions which could lead to an action under the False Claims Act as well as
efforts to stop one or more violations under the False Claims Act. The conduct of Defendant
Tetra Tech EC, Inc. and Tetra Tech Inc. are retaliatory actions against Plaintiff Jackson in

violation of 31 USC §3730(h).
-50-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 51 of 52

DAMAGES TO PLAINTIFFS - RETALIATORY ACTIONS IN
VIOLATION OF 31 USC §3730(h)

76. Plaintiffs re-allege and incorporate by reference all prior paragraphs of this
Complaint.

77. As a result of the adverse actions of Defendants, Plaintiffs have sustained and will
continue to sustain loss of income and loss of benefits. Plaintiffs have also suffered and will
suffer damage to their careers and reputations in amounts according to proof. Pursuant to 31 USC
§3730(h)(2) Plaintiffs pray for two times the amount of back pay, and interest on the back pay.
Plaintiffs seek reinstatement, and if reinstatement is not directed, future lost wages and benefits
according to proof.

78. As a further result, Plaintiffs suffer and continue to suffer emotional distress in an
amount according to proof.

79. Plaintiffs were required to retain counsel and are entitled to reasonable attorneys’
fees and litigation costs.

80. Plaintiffs seek all civil penalties and statutory remedies to which they are entitled.

81. The acts of Defendants, and each of them, were willful, reckless, malicious, and
oppressive or done with a conscious disregard for the rights of Plaintiffs. Plaintiffs pray for an
award of punitive damages according to proof.

PRAYER FOR RELIEF ON RETALIATION CLAIM

WHEREFORE, Plaintiffs pray for judgment against Defendants, as follows.

1. For compensatory and economic damages according to proof and as provided for by

law;

2. For general damages according to proof;

3. For an award of prejudgment interest at the legal rate according to proof;

4. For an award of punitive and exemplary damages;

-5]-

COMPLAINT

SCOTT LAW FIRM

1388 SUTTER STREET, SUITE 715

SAN FRANCISCO, CA 94109

~~“ NA WN

Case 3:13-cv-03835-JD Document1 Filed 08/19/13 Page 52 of 52

5. For an award of attorneys’ fees and costs as permitted by law;
6. For reinstatement;
7. For other and further relief as the Court may deem just, necessary and appropriate.

Dated: August 19, 2013

SCOTT LAW FIRM &
LAW OFFICE OF DAVID C. ANTON

Houston Scott
avid C. Anton
Attorneys for Plaintiffs

JURY TRIAL DEMAND

A jury trial is demanded on all issues of fact.

ore Houston Scott
David C. Anton
Attorneys for Plaintiffs

Dated: August 19, 2013

-52-

COMPLAINT

